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           EXHIBIT A

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      I.      Background and Qualifications:



           I, James A. Reiffel, M.D., am currently Professor Emeritus of Medicine and

           Special Lecturer at Columbia University College of Physicians and Surgeons

           (Department    of    Medicine,   Division   of   Cardiology,   Section    of

           Electrophysiology); and, Attending Physician [Emeritus] at Presbyterian

           Hospital in New York City.



           I am a Fellow of the American Heart Association, Fellow of the American

           College of Cardiology, Fellow of the American College of Physicians, and

           Fellow of the Heart Rhythm Society. I am also a member of the European

           Society of Cardiology. I am Board Certified in both Medicine and in Clinical

           Cardiology, and have been similarly Board Certified in Clinical Cardiac

           Electrophysiology.



           I graduated Duke University with my B.A. degree in 1965 and Columbia

           University with my M.D. degree in 1969. I was an intern and resident in

           Medicine at the New York Presbyterian Hospital from 1969-1972, and a

           cardiology fellow at the same institution from 1972-1974. I then joined the

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         faculty of Columbia University College of Physicians & Surgeons and the New

         York Presbyterian Hospital in 1974. I have remained a faculty member since

         then, having reached the rank of Professor of Medicine, and having served

         as Director of the Electrocardiographic Laboratory, Director of the

         Electrophysiology   Laboratory,    and    the   Director   of   the   Cardiac

         Electrophysiology fellowship program, and co-Director of the cardiac

         intensive care unit during my tenure.



         I have been actively involved in teaching, research, and clinical practice for

         over 4 decades. I have regularly instructed medical students, postgraduate

         house staff, fellows, and other faculty, and have had an active practice in

         consultative clinical cardiology and cardiac arrhythmic disorders. Outside of

         Columbia, I have taught regionally, nationally, and internationally -- having

         given over 1000 presentations at most major medical institutions in the

         country and at several lay programs as well. I have been first author or co-

         author of over 400 medical publications and over 200 published abstracts. I

         have been a member of the editorial board of several peer-reviewed

         publications and have been a reviewer for many more (see CV for details,

         attached as Appendix A).

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          Over the past two decades, my focus has been predominately on

         antiarrhythmic and anticoagulant therapies. I have received numerous

         honors for the quality of my teaching. Additionally, I have served in advisory

         capacities re: the FDA and have been on the planning committee for the

         Cardiac Safety Research Consortium, for which I have presented at several of

         their “Think Tanks”, including at the February 2015 meeting concerning the

         new oral anticoagulants (NOACs).



         Specifically, regarding cardiac arrhythmias, I have been involved in

         developmental/research      studies    of   electrophysiological   techniques,

         antiarrhythmic pharmaceuticals and devices, new anticoagulants, and

         multiple major multicenter trials. Current research interests include the

         optimum management of patients with atrial fibrillation and flutter,

         development of new antiarrhythmic and antithrombotic pharmaceuticals,

         and the use of implanted cardiac devices for arrhythmia detection. I am

         currently on the Steering Committee for both the ongoing CABANA trial and

         the ORBIT AF Registries; I am the Principle Investigator (PI) for the ongoing

         REVEAL AF trial; I was co-PI for the recently reported HARMONY trial; and I

         was an investigator in the RE-LY trial, among many others.

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             I have testified as an expert at trial or by deposition once in the previous four

             years. My hourly rate is $675.

      II.       Basis of Opinions:

             My opinions are based on my education, training, and experience and fall

             within my areas of expertise. A current copy of my CV is attached as

             Appendix A. In preparing this report, I considered the documents listed in

             Appendix B, in addition to those referenced throughout my report. I have

             testified once in the last four years, and my hourly rate is $675. All of my

             opinions expressed in this report are to a reasonable degree of medical

             certainty, and I reserve the right to supplement my opinions in the event that

             new information becomes available.

      III.      My Opinions:

             History/Overview of Anticoagulation

             Summary of disease states that require anticoagulation therapy, including

             AF:

             The most common conditions requiring anticoagulation are atrial fibrillation

             (AF) for the prevention of stroke and systemic embolism (SSE) and venous

             thromboembolism (VTE) which includes deep vein thrombosis (DVT)

             treatment and prevention and pulmonary embolism [a blood clot

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         obstructing vessels in the lungs] (PE) treatment and prevention. Most often

         PE is a consequence of DVT, though not always. Both stroke and PE can be

         fatal, and hence their prevention can be life-saving.



         Atrial fibrillation is a cardiac rhythm disorder that makes the pulse irregular

         and usually rapid (which can produce symptoms and heart failure and

         secondarily, death). It is an abnormality of the smaller chambers of the heart

         (the atria) in which the electrical activity that controls the rhythm and rate is

         chaotic. It also impairs the mechanical (contractile) function of the heart and

         often causes atrial enlargement. Large atria with impaired contraction,

         especially in association with cellular and endothelial secretory

         abnormalities that can result from both the AF itself as well as from the

         commonly associated co-morbid cardiovascular diseases, can become prone

         to blood clot formation. Such blood clots, if they form in the left atrium, can

         break free and travel to other parts of the body (an embolism) where they

         obstruct blood flow and cause consequences. When they go to the head, the

         most common site of embolization, they result in a stroke. Common

         comorbidities, such as hypertension (HTN) (the most frequent), diabetes,

         pulmonary disease, and heart failure (HF), as well as several less frequent

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         systemic multisystem disorders not only increase the risk for embolization

         but complicate the treatment of AF, including anticoagulation (see below).

         Importantly, the prevalence of AF also increases with age, as does stroke.1



         In the U.S., stroke2-6 is the number 3 cause of death (behind heart disease

         and cancer) – about 1 in every 16 deaths. Stroke affects almost 800,000

         individuals/yr in the U.S. (1 every 40 sec) with someone dying every 3-4

         minutes. About 87% are ischemic strokes and 15% or more of all strokes are

         embolic from AF --with a fatality rate around 20%. Stroke is the leading cause

         of disability among adults in the U.S., and 4 out of every 5 families will

         somehow be affected by stroke over the course of a lifetime. Strokes with

         AF are more likely to be fatal, to be debilitating, to prolong hospitalization,

         and to be costlier than strokes without AF. 2-6



         Anticoagulants are medications that can impair clot formation and thus

         reduce the likelihood of embolization and stroke in patients (pts) with AF.

         Consideration of anticoagulation is now a uniform part of the management

         strategies for AF.1 Nonetheless, not all pts with AF require anticoagulation,

         since in pts without specific associated co-morbidities the risk of SSE is quite

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         low despite AF. However, in pts with several common specifically defined

         co-morbidities, which exist in the majority of pts with AF, the risk increases

         progressively with their number and severity such that anticoagulation is

         warranted despite the increased risk that a bleeding event will occur in pts

         taking an anticoagulant as compared to pts who are not anticoagulated.

         Notably, the risk of SSE as well as bleeding increases as age increases, so it is

         especially the younger patient (pt) with AF but no associated cardiovascular

         disorders who does not require anticoagulation as a routine component of

         treatment.1,7



         Very notably, the constellation of pts with AF is increasing. The likelihood of

         AF increases with age and increases in association with almost all

         cardiovascular (CV) conditions – including HTN and all disorders that cause

         heart failure. Given the steady increase in life-expectancy of our population

         and the steadily improving survival of pts with CV disorders in modern

         medicine, it has been estimated that while we had an estimated 5 million

         Americans living with AF in the mid-2000s, by 2050 that number will triple

         (figure 1).8 Thus, our concerns about the prevention of SSE in AF are growing

         in importance and magnitude.

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          Figure 1:




          There have been several approaches to developing risk-marker scoring

          systems to define those AF pts for whom anticoagulation is not warranted

          and those for whom the risk of SSE in the absence of anticoagulation exceeds

          the bleeding risks from anticoagulation (in consequence, not just

          numerically) and therefore require anticoagulation.1,7 For example: in AF pts

          with risk-markers, the case fatality for GI bleeding on an anticoagulant is

          much lower than that of ischemic stroke off anticoagulants.               Of

          anticoagulated patients with a major GI bleed, about 5% die. Of non-

          anticoagulated patients with an ischemic stroke, about 20% die.




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          Importantly, one cannot approach this risk simply numerically, since the

          likelihood of fatality, chronic disability, prolonged hospitalization, and costs

          are substantially greater with a stroke than with a bleed (assuming an

          intracerebral hemorrhage to be counted as a stroke). When I ask during

          educational programs and seminars, virtually all physicians and pts respond

          that they do not want to have a stroke in their lifetime, or suffer a bleeding

          episode. But, when told that they would have to choose one if they were a

          pt with AF and risk-markers, they all pick a bleed. Neither is not a real-life

          option for them. The background for this question is that the at-risk AF pt

          can suffer a SSE if not anticoagulated, or a bleed if anticoagulated, but the

          choice of neither is not a reality. A small bleeding risk is the “cost” of the

          stroke prevention treatment of an anticoagulant. Consider the risk of a bleed

          in a similar light to an air bag going off in a car. One does not wish to ever

          have a crash and have the air bag inflate and hit them, but one would not buy

          a car (and cannot buy a new car) these days without them.



          In the decade of the 2000s, the most widely used risk scoring system 1, 7, 9, 10

          worldwide for AF pts for assessing the contributory co-morbidities and their

          importance was the CHADS2 score. C = congestive heart failure, 1 point; H =

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          hypertension (high blood pressure), 1 point; A = age 75 years or older, 1

          point; D = diabetes, 1 point; S2 = a prior stroke or transient ischemic attack,

          2 points (figure 2). The greater the score a pt has, the greater the risk for a

          SSE event. In the various treatment guidelines promulgated by associations

          of experts (e.g., the American Heart Association, the American College of

          Cardiology, the American College of Chest Physicians, the Heart Rhythm

          Society, the European Society of Cardiology), a score of 2 or higher indicated

          a need to utilize anticoagulation. In some of the systems, a score of 1 either

          indicated a need for anticoagulation or at least consideration of it. 1, 7, 9, 10 As

          single markers of risk, a prior stroke/transient ischemic attack and age

          (especially if over 75 yrs) are the strongest.



          In the current decade, it was appreciated that there were additional markers

          that should also be considered, as well as the fact that risk began at an age <

          75 yrs. Accordingly, additional risk-marker scoring systems were developed,

          such as CHA2DS2-VASc and ATRIA. The most widely recommended current

          risk scoring system is CHA2DS2-VASc, in which age of 75 years or more is now

          given 2 points and age 65-74 is given 1 point; and, both vascular disease (1

          point) and female gender (1 point) are added (figure 2). 1, 7, 9, 10

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          Figure 2:




          As with the CHADS2 system, a score of 2 points or higher is an indication for

          anticoagulation, and a score of 1 point is borderline, in which individual

          patient and circumstance considerations should also be considered.

          Notably, some of these individual circumstances include renal dysfunction

          (used in ATRIA),11 ethnicities, specific biomarkers, as well as atrial anatomy

          and function by echocardiogram, in which specific alterations have also been

          associated with increased risk for SSE. Most recently, one study suggested

          that in Asians, the age for a 1-point score should start at 50 yrs.12




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          The major reasons for expanding the risk-scoring systems are: (1) they

          identify more individuals at risk; (2) the growing appreciation that stroke is a

          more serious concern than is non-fatal bleeding and as such, stroke should

          be prevented even if some pts will suffer a bleeding consequence; and (3) our

          preventative treatments have recently improved (see material on NOACs

          below).   Use of the new risk-scoring systems and anticoagulating so-

          identified pts accordingly is now the standard of care and the

          recommendation in all major AF guidelines, such as those of the American

          Heart Association/ American College of Cardiology/ Heart Rhythm Society

          and of the European Society of Cardiology. 1,7



          There have also been put forth some risk-marker systems to recognize pts in

          whom bleeding risk may be increased (such as HAS-BLED, HEMORR2HAGES,

          and ATRIA as well as CHADS2 itself).13, 14 Importantly, many of the same

          conditions that increase risk for SSE also increase risk for bleeding on an

          anticoagulant. Clinically, the bleeding risk-scores are utilized less often for

          decision making than are the SSE scores – again recognizing that if one had

          to suffer either a stroke or a bleed, the former would almost always be

          considered the worst and its prevention would outweigh concerns about

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          bleeding in most patients.       That is, net clinical benefit would favor

          anticoagulation. However, they are used as a guide to identify factors that

          may be modified in an anticoagulated patient so as to reduce their risk of

          bleeding. Some of the additional considerations that are included in the

          bleeding scores include drugs and alcohol abuse, renal and liver function,

          prior bleeding history, labile INRs in pts taking warfarin.



          Importantly, bleeding while on an anticoagulant should not be taken as an

          indication that anticoagulation was not warranted or that the physician’s

          decision to prescribe it was wrong. Equally important to recognize,

          anticoagulants do not cause a bleeding source [excluding consideration of

          gastritis from aspirin]. Supportive of this is an observation reported by Dr.

          Paul Burton 14a during a deposition that blood concentrations of the

          anticoagulant, rivaroxaban (see below) were no higher in patients who had

          a bleeding event in the ROCKET AF trial (see below) than in those who did

          not. Rather, if there is a bleeding source and a pt is taking an anticoagulant,

          bleeding is likely to be more severe or prolonged than in the absence of the

          anticoagulant. We all know that bleeding can and does occur in individuals

          who are not anticoagulated. Such bleeding can occur from many conditions,

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          such as ulcers, hemorrhoids, GI polyps, gastritis, kidney stones, cystitis,

          nosebleeds, vascular disease, trauma, and more. [To put this in greater

          perspective, between 1992 and 2001, nosebleeds led to 4,503,000

          emergency room visits in the U.S. Similarly, hemorrhoids (whose most

          frequent presenting symptom is bleeding) have been estimated to have a

          prevalence of 4.4% in the U.S., and 13-36% in the U.K.15-17] Bleeding is just

          more likely to become clinically apparent or prolonged if an anticoagulant is

          present. Interestingly and clinically important, there have been multiple

          reports of lives saved by bleeding as a consequence of earlier detection of a

          small cancer in which it was the increased bleeding consequent to an

          anticoagulant that brought the lesion to clinical attention. Accordingly,

          anticoagulation (using NOACs or warfarin) is recommended in all major

          guidelines related to AF (AHA/ACC/HRS; ESC; ACCP, etc.)1, 7, 18 in at-risk pts as

          defined above in the absence of active pathological bleeding or excessive

          major bleeding risk.



          Risks and benefits of anticoagulation therapy

          As noted above, the risk of anticoagulant therapy is primarily bleeding. In

          general, these risks are overshadowed by the benefits of SSE prevention in

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          AF, or fatal PE prevention in VTE pts when anticoagulation is used according

          to guideline indications. Individual anticoagulant agents may have additional

          side effects, but they are generally infrequent, rare, and mild and/or a

          nuisance rather than severe or life-endangering.



          History of various anticoagulation therapies, including:

          Development of warfarin:

          The first oral anticoagulant to be used for SSE prevention and VTE treatment

          was warfarin – a vitamin K antagonist (VKA) that initially came to the

          physician’s treatment armamentarium in 1954. Warfarin (Coumadin) and

          similar congeners (e.g., dicoumerol, acenocoumerol), known collectively as

          vitamin K antagonists, act by impairing the liver’s production of specific

          vitamin K dependent proteins necessary for normal coagulation that require

          the actions of vitamin K for their production. Prior to the approval of

          warfarin for human use, it came to the market for rodent control (rat poison)

          because rats given very large (supratherapeutic) doses will bleed to death.



          By the 1980s, it was known that patients with AF and rheumatic heart disease

          with mitral valve involvement (particularly mitral stenosis) had an

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          exceedingly high risk for SSE, and that the use of warfarin in such pts could

          significantly reduce that risk. Similarly, pts with artificial, mechanical heart

          valves had a high risk of thrombosis unless anticoagulated. Warfarin became

          standard treatment in both of these groups, and remains so today. In the

          absence of a contraindication (such as active pathological bleeding) it is

          unethical to not anticoagulate such pts. However, subsequently, physicians

          became aware of an unacceptable rate of SSE in other pts with AF and a

          series of randomized, double-blind, placebo-controlled trials were

          performed in which such pts were given either warfarin or placebo (AFASAK,

          SPAF, BAATAF, CAFA, SPINAF, EAFT) (figure 3).19 These trials, taken together,

          clearly showed a dramatic benefit of anticoagulation in such pts, despite an

          increased risk for bleeding, such that there was a relative risk reduction of

          all-cause mortality of 26% and a relative risk reduction of stroke by an

          astounding 62%.19




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          Figure 3




          It is subsequent to such data that the above described risk-guided treatment

          of AF with anticoagulation became and has remained the standard of care.

          Moreover, in other trials in which aspirin (or aspirin plus clopidogrel) was

          tested against dose-adjusted warfarin, warfarin proved to be superior in all

          of them.



          For oral, out-patient anticoagulation, warfarin and its congeners, such as

          dicoumerol (primarily used in Europe) became the standard therapy for

          stroke prevention in at-risk AF pts. In fact, no alternative oral anticoagulant




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          reached the clinical market until 2010 (about 5 ½ decades after the

          introduction of warfarin).



          Major limitations of warfarin:

          Unfortunately, warfarin is a difficult drug to use. The anticoagulant effect of

          warfarin can be measured by a laboratory blood test called the prothrombin

          time (protime, PT). For this test, blood is drawn from the patient and the

          time it takes to form a clot when mixed with certain chemicals under specific

          circumstances is the protime. In an attempt to standardize the test from

          laboratory to laboratory, reagent to reagent, and country to country, an

          international normalized ratio of the measured PT to the clotting time of un-

          anticoagulated blood was developed, the International Normalized Ratio,

          INR. From the above-noted warfarin-placebo comparison trials, it became

          clear that the risk for SSE became progressively lower as the INR increased

          from a value of 1.0 to a value above 2.0, while the risk of bleeding began to

          increase most notably at an INR value above 3.0-3.5. Thus, the target of

          therapy with the use of warfarin became the establishment and

          maintenance of an INR between 2.0 and 3.0 when blood is tested in a pt

          taking warfarin (figure 4a).20-22

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          Figure 4a:




          Whether the slopes of the two curves in figure 4a would be the same now as

          they were at the time of the above-noted warfarin-placebo trials if they were

          assessed in the same patients or whether they would be less steep as a

          possible consequence in improvements in overall medical care is not known

          with certainty. However, in an analysis provided by the FDA based upon the

          warfarin arms in three of the trials in which new oral anticoagulants (see

          section on NOACs below) were compared (figure 4b) the relationships still

          appear to hold.22a More specifically, their 2.0-3.0 intercept range and

          behavior in the INR regions nearby does not appear to have changed.




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          Figure 4b:




          Unfortunately, attaining and maintaining the INR in this range over the long

          course of treatment (years) needed in pts with a chronic condition (e.g., AF,

          some VTE) is dramatically difficult. Figure 5 (obtained from the

          anticoagulation clinic at the University of Washington) shows the course in a

          single patient as an example.




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          Figure 5:




          There are genetic and ethnic differences in how warfarin is handled by

          different pts. For example, African-Americans require almost twice the

          weekly dose of warfarin compared with Asians to maintain a stable INR (with

          Hispanics and Caucasian in between).22b There is an almost endless list of

          drug interactions (both prescription and over-the-counter agents) with

          warfarin that alter its effect on the INR (both increases and decreases) and

          hence its dosing. Drugs.com, for example, notes 825 agents (5651 branded


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          agents and generics) that interact with warfarin. Listed are many drugs that

          are commonly used in pts with AF, including rate-control agents,

          antiarrhythmics, antihypertensives, heart failure drugs, drugs for diabetes,

          antibiotics, and more. Beyond prescription drugs, many over-the-counter

          agents also can interact with warfarin. Important to note, multi-morbidity,

          defined as two or more chronic conditions, affects more than two-thirds of

          Americans 65 years of age and older; the prevalence exceeds 80% among

          Americans at least 75 years old; and half of adults age 75 or older have 4 or

          more chronic conditions with 20% having six or more.22c Multi-morbidity

          greatly increases therapeutic complexity and polypharmacy, and is an

          especially difficult problem in patients taking warfarin; and, polypharmacy

          has been associated with increased risk for bleeding on anticoagulants.23 The

          multiple co-morbidities commonly associated with AF, including HTN,

          diabetes, HF, lung disease, thyroid disease, and more result in most AF pts

          taking multiple medications daily; in ROCKET AF, the mean was nine!23, 23a

          Additionally, in many if not most pts, the choice of such agents and/or their

          doses (and hence their interaction potential) change repeatedly over time.

          In my practice, each time a warfarin pt begins or discontinues a prescription




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          medication or an over-the-counter agent, I have them recheck their

          anticoagulation status (blood test and follow-up contact with me).



          There are also a large number of dietary interactions with warfarin – such

          that all foods that supply vitamin K can alter the stability of warfarin therapy

          and hence its dosing – including a long list of fruits and vegetables (as well as

          liver). Common ones include: lettuce, cabbage, broccoli, spinach, kale,

          Brussel sprouts, parsley, endive, chard, other green leafy vegetables, green

          tea, soy beans, kiwi, cranberry products, some margarines and mayonnaises,

          and more. To maintain a stable INR in the desired range, pts need to be

          almost rigid in their dietary intake of these foods week to week – which for

          most pts is not consistently realistic. Similarly, conditions that can affect the

          absorption of food from the gut will cause the PT to vary – things as simple

          and common as diarrhea from a virus, or food poisoning, or common over-

          the-counter medications such as Advil or Motrin.



          Moreover, access to medical care for testing varies by geography,

          employment, socio-economic, and other factors that can affect patient

          education, patient compliance, travel to, and frequency of testing.

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          Accordingly, the average time that the INR remains in the target

          (therapeutic) range of 2.0 to 3.0 (TTR) in the typical pt in community-based

          practices has varied markedly across pts and practices in clinical reports, such

          as from around 25% to 65%, with an average somewhere in the 50% range,24

          even in the current era.24a [Importantly, for some ethnicities (such as older

          Japanese subjects), the target INR has been below 2.0-3.0. Thus, the TTR

          being considered out of range if <2.0 could be an erroneous assumption if a

          community or geographical region has many Asian patients and

          physicians.24b, 24c]



          In addition to the above factors contributing to this conundrum, so can the

          comorbid disorders contributing to the AF itself, such as HF. HF has been

          recognized as being associated with unstable TTRs. HF via hepatic congestion

          can affect coagulation protein synthesis, appetite, and gut flora – all of which

          would affect warfarin dosing and all of which vary in each HF pt over time.

          In addition, HF pts also typically take multiple medications whose type and

          dose also typically vary over time. Thus, a warfarin pt may require frequent

          laboratory assessments and dose adjustments based on their varying INR

          levels (and likely will have lower than average percent time in the target 2.0-

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          3.0 INR range during their time on warfarin). Moreover, because stability of

          anticoagulation in individual patients treated with warfarin is notoriously

          unstable in many/most patients, given warfarin’s management hurdles,

          comparisons of INRs across trials with different representation of complex

          patients, such as those with heart failure and/or on poly-pharmacy may be

          impossible to accurately interpret.



          Finally, warfarin requires a larger number of dosing options than almost any

          other medication I know. There are 9 different dosing sizes and tablet colors

          just of branded Coumadin, and multiple different manufacturers of generic

          warfarin as well. The potential for confusion and dosing errors is high, and

          represents a major cause of emergency room visits in the U.S. In 2011, the

          New    England     Journal   of   Medicine     reported    99,628     emergency

          hospitalizations in a 2-year period for adverse drug events in U.S. adults 65

          years of age or older, with warfarin accounting for one third of them (three

          times as many as the next highest agents).25 Consequently, physicians and

          pts alike find warfarin difficult to use and often find excuses not to utilize it.

          Accordingly, in multiple reports in the medical literature, some 40% to 60%

          of AF pts in whom anticoagulation with warfarin has been indicated have in

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          fact not been anticoagulated.26 And in the ones who have been, stability of

          the INR in the target range of 2.0-3.0 has been poor about half of the time

          (see time in therapeutic range, TTR, below). Moreover, the underuse of

          warfarin has been greatest in the elderly27, 28 – the very patients with the

          highest risk of SSE. Not surprisingly, then, it has been estimated that

          Americans suffer more than 125,000 embolic strokes per year due to AF, with

          a mortality of about 20%. These would be preventable if anticoagulation was

          more widely and appropriately used. Thus, accordingly, there has been a

          long-felt unmet need for safer, easier to use, and potentially even more

          effective alternatives to anticoagulation with warfarin (figure 6).

          Figure 6:




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          Finally, with the advent of the current decade, such alternatives have

          become a reality.29-40 In 2010, dabigatran (Pradaxa), the first new oral

          anticoagulant, was released.     It was quickly followed by the release

          sequentially of rivaroxaban (Xarelto), apixaban (Eliquis), and edoxaban

          (Savaysa). These new oral anticoagulants, with novel and more precise

          mechanisms of action, have become known as the NOACs. Since their

          release, the use of NOACs has grown and the use of warfarin has declined.

          Thus, today, warfarin has been increasingly replaced by newer oral

          anticoagulants for prevention of stroke in patients with non-valvular AF

          (NVAF) [as well as in the treatment of VTE].40,41 In the 2014 AHA/ACC/HRS

          guidelines for the management of AF, the NOACs are listed as alternatives to

          warfarin; and, in the most recent 2016 ESC (multinational) guidelines, the

          text states: “When oral anticoagulation is initiated in a patient with AF who

          is eligible for a NOAC (apixaban, dabigatran, edoxaban, or rivaroxaban), a

          NOAC is recommended in preference to a Vitamin K antagonist” (warfarin

          or dicoumerol).7




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          Development of NOACs:

          Introduction of four new medications (collectively referred to as NOACs)

          over the past decade to provide oral anticoagulation for stroke prevention

          and treatment of VTE:



          The NOACs are oral anticoagulants that work somewhat differently than

          warfarin to accomplish the same goal. Warfarin, as noted earlier, impairs the

          body’s hepatic utilization of vitamin K, which is required for the formation of

          multiple proteins that are needed sequentially in the chemical process that

          results in coagulation. Each NOAC, in contrast, works by inhibiting a single

          one of these necessary proteins, so that the sequential steps required in the

          chemical process leading to coagulation cannot be completed. Dabigatran

          inhibits thrombin while Xarelto, apixaban, and edoxaban inhibit factor Xa.

          Nonetheless, the end result of their use is anticoagulation.



          However, unlike warfarin, the NOACs have much simpler dosing regimens

          (mostly only two dose choices in pts with AF); far fewer drug interactions; no

          dietary interactions; and, currently, based upon their clinical trials versus

          “standard” anticoagulation regimens, no need for regular blood tests, such

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          as the INR. Only five commonly used cardiac drugs are listed in any of the

          current NOAC package inserts regarding possible pharmacokinetic drug

          interactions: amiodarone, quinidine, diltiazem, dronedarone, verapamil (the

          latter three are noted in the Xarelto package insert). Notably, these five

          drugs also interact with warfarin. Thus, the NOACs are substantially easier

          to use and to be compliant with. Moreover, large, randomized, prospective,

          blinded clinical trials in which each NOAC was tested directly against

          warfarin, with standard INR-guided dosing for warfarin but no blood test

          monitoring for NOAC dosing, both for the prevention of SSE in high-risk AF

          pts [excluding pts with rheumatic mitral valve stenosis and pts with

          mechanical heart valves] and for the management of VTE, have shown that

          the NOACs, as a class, are non-inferior to (substantially maintain the efficacy

          of) or more effective than (superior to) warfarin (or warfarin following a

          heparinoid in some of the VTE studies) in the prevention of these

          thromboembolic endpoints with similar overall bleeding risk but lower rates

          of fatal bleeding and of bleeding into the head/brain.29-41 Consequently, as a

          class, the NOACs have multiple advantages over warfarin. Importantly, while

          each NOAC has been tested against warfarin, none have been tested directly

          against each other; and, because the populations in which they were tested

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          differ from each other in important clinical characteristics, we cannot

          presume to accurately state or even truly estimate their relative efficacy or

          safety, one versus the next.



          Nonetheless, despite having freedom from significant dietary interactions

          and only a limited number of drug interactions, there are specific

          considerations that do come into play regarding NOAC dosing. Specifically,

          dosing of each of the NOACs is guided by the status of renal function (+/-

          possible confounding drug interactions).41a And, as all except dabigatran

          have a significant component of elimination via hepatic metabolism, such

          that conditions affecting the liver may alter NOAC pharmacokinetics, and

          possibly safety. In this respect, HF again becomes an important issue, as HF

          can adversely and variably affect both renal and hepatic function.



          Accordingly, comorbid conditions and their treatment have the potential to

          not only affect both NOAC safety and warfarin safety in a given pt but also to

          inhibit inter-trial comparisons of NOACs as studied in nonidentical

          populations. Importantly, it is not just the frequency of heart failure that is

          different among the NOAC vs warfarin trials, as one example of a complex

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          co-morbidity, but likely its severity and the number and doses of medications

          patients with AF and heart failure take (some of which interact with the

          NOACs – generally to increase their concentrations in the body). Hence, any

          attempt to compare these agents across trials has to be inaccurate at best.

          Furthermore, because propensity-matching (a commonly used approach to

          try to compare across trials or subgroups within trials) cannot “drill down” to

          the level of co-morbidity severity and treatment, even this “correction

          technique” will not suffice when trying to compare NOACs across trials, or

          subgroups within a NOAC trial.



          Brief discussion of various NOACs and indications:

          Dabigatran (Pradaxa) was the first NOAC released for clinical use. In pts with

          AF, dabigatran was evaluated directly against warfarin in the RE-LY trial.29 In

          RE-LY, dabigatran at 150 mg bid was superior to warfarin for reducing SSE --

          both ischemic strokes and hemorrhagic strokes. Dabigatran had overall

          major bleeding rates similar to warfarin; and although dabigatran had more

          total GI bleeding, it had less life-threatening or fatal bleeding, less

          intracranial bleeding, and lower overall mortality. It was also tested at a dose

          of 110 mg bid, which proved non-inferior to warfarin for SSE prevention with

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          a lower risk of bleeding. [The 110 mg bid dose is available outside of the U.S.

          for AF, but has not yet been approved by the FDA for AF in the U.S.] For VTE

          dabigatran was compared to standard therapy (parenteral enoxaparin, for

          rapid onset, followed by oral warfarin) in the RECOVER trials.34-36 Again, when

          considering the efficacy and safety outcomes, dabigatran proved better than

          warfarin.



          Subsequent to dabigatran, the three factor Xa inhibitors, rivaroxaban

          (Xarelto), apixaban (Eliquis), and edoxaban (Savaysa) were approved for

          clinical use – again after pivotal trials against warfarin in high-risk AF and VTE

          pts. For AF, Xarelto was studied in the ROCKET AF trial; 30,31 apixaban was

          studied in the ARISTOTLE trial;32 and edoxaban was studied in the ENGAGE

          AF trial.33 For VTE, Xarelto was studied in the EINSTEIN trials34,37,38 (and short-

          term for prevention of VTE after hip and knee surgery in the RECORD trials38a-

          d
          ); apixaban was studied in the AMPLIFY trial;34,39 and edoxaban was studied

          in the HOKUSAI trial34,40. In these trials, the NOACs were consistently non-

          inferior or superior to warfarin (or the alternative standard of care regimen)

          in reducing SSE and VTE events with similar or less major bleeding and with

          less fatal and less intracranial bleeding despite more GI bleeding. As with

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          dabigatran in RE-LY, ARISTOTLE revealed a lower mortality rate in pts treated

          with apixaban than with warfarin. With this background on the NOACs, let’s

          turn more specifically to the study of Xarelto in particular.



          Overview of ROCKET AF:

          Purpose and Design:

          The XaRelto Once Daily Oral Direct Factor Xa Inhibition Compared with

          Vitamin K Antagonism for Prevention of Stroke and Embolism Trial in Atrial

          Fibrillation (ROCKET AF)30, 31 was designed as a prospective, randomized,

          multi-national, double-dummy study to compare once-daily oral Xarelto with

          dose-adjusted warfarin for the prevention of SSE in patients with nonvalvular

          AF who were at moderate-to-high risk for stroke. Elevated risk was indicated

          by a history of stroke, transient ischemic attack, or systemic embolism or at

          least two of the following risk factors: heart failure or a left ventricular

          ejection fraction of 35% or less, hypertension, an age of 75 years or more, or

          the presence of diabetes mellitus. According to the protocol, the proportion

          of patients who had not had a previous ischemic stroke, transient ischemic

          attack, or systemic embolism and who had no more than two risk factors was

          limited to 10% of the cohort for each region; the remainder of patients were

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          required to have had either previous thromboembolism or three or more risk

          factors.   As stated in the trial report in the New England Journal of

          Medicine30, the primary hypothesis was that Xarelto would be noninferior to

          warfarin for the prevention of stroke or systemic embolism. The principal

          safety end point was a composite of major and nonmajor clinically relevant

          bleeding events. The population studied in ROCKET AF was higher risk than

          those in RE-LY, ARISTOTLE, or ENGAGE AF. They were older with more

          relevant comorbidities that affect both the risk of SSE, the risk for bleeding,

          the risks of specific sites of bleeding, mortality, and the TTR during warfarin

          treatment (table 1).

          Table 1: Selected Demographics in the NOAC vs Warfarin AF Trials

                                          ROCKET AF     RE-LY   ARISTOTLE     ENGAGE AF

          Average Age (years)             73            71.5         70           72

          Heart Failure                   62%           32%          35%          57%

          Diabetes Mellitus               40%           23%          25%          36%

          Hypertension                    90%           79%          87%          93%

          Prior SSE/TIA                   55%           20%          19%          28%




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          [Notably, renal function was not comparably reported in the above four

          trials, so comparisons of this important demographic characteristic, which

          directly affects the pk characteristics of each of the NOACs, cannot be

          assessed.]



          Patients were randomly assigned to receive fixed-dose Xarelto of 20 mg once

          daily with the evening meal (or 15 mg daily in patients with a creatinine

          clearance of 30 to 49 ml per minute) or adjusted-dose warfarin (target INR

          2.0 to 3.0). Patients in each group also received a placebo tablet in order to

          maintain blinding. So, Xarelto pts took placebo warfarin and warfarin pts

          took placebo Xarelto each day. A point-of-care device (Alere INRatio) was

          used to generate encrypted PT values that were sent to an independent

          study monitor, who provided sites with either real INR values (for patients in

          the warfarin group in order to adjust the dose) or sham values (for patients

          in the Xarelto group receiving placebo warfarin) during the course of the trial.

                                                                      43
          In the warfarin group, the method of Rosendaal et al.            to calculate the

          overall time that INR values fell within the TTR was used. A point-of-care

          method to measure the protimes was chosen rather than primarily using a

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          central lab for processing, so as to allow physicians to make real-time

          decisions concerning warfarin dosing while he/she was present with the

          patient.



          The primary efficacy end point was the composite of stroke (ischemic or

          hemorrhagic) and systemic embolism. Secondary efficacy end points

          included a composite of stroke, systemic embolism, or death from

          cardiovascular causes; a composite of stroke, systemic embolism, death from

          cardiovascular causes, or myocardial infarction; and individual components

          of the composite end points. Secondary efficacy end points also included a

          composite of stroke, systemic embolism, or death from cardiovascular

          causes; a composite of stroke, systemic embolism, death from cardiovascular

          causes, or myocardial infarction; and individual components of the

          composite end points. An independent clinical end-point committee applied

          protocol definitions to adjudicate all suspected cases of stroke, systemic

          embolism, myocardial infarction, death, and bleeding events that

          contributed to the prespecified end points.




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          Results of the ROCKET AF trial30, 31:

          A total of 14,264 patients underwent randomization. The proportions of

          patients who permanently stopped their assigned therapy before an

          endpoint event and before the termination date were 23.7% in the Xarelto

          group and 22.2% in the warfarin group. The median duration of treatment

          exposure was 590 days; the median follow-up period was 707 days. Only 32

          patients were lost to follow-up.



          The median age was 73 years (a quarter of the patients were 78 years of age

          or older), and 39.7% of the patients were women. Hypertension was present

          in 90.5% while 62.5% had HF, and 40.0% had diabetes; 54.8% of the patients

          had had a previous stroke, systemic embolism, or transient ischemic attack.

          The mean and median CHADS2 scores were 3.5 and 3.0, respectively. More

          pts in ROCKET AF had prior stroke/TIA and more had HF than in any other

          NOAC trial for AF. Among patients in the warfarin group, INR values were

          within the therapeutic range (2.0 to 3.0) a mean of 55% of the time (median,

          58%; interquartile range, 43 to 71). The mean CHADS2 score of 3.5 with 43%

          having a score of 4 or higher (largely due to prior SSE/TIA) makes this the

          highest risk population enrolled in any of the NOAC vs warfarin AF trials.

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          Among all randomized patients in the intention-to-treat analysis, primary

          events (SSE) occurred in 269 patients in the Xarelto group (3.8% per year)

          and in 306 patients in the warfarin group (4.3% per year) (hazard ratio, 0.88;

          95% CI, 0.74 to 1.03; P<0.001 for noninferiority; P= 0.12 for superiority). The

          components of these totals are listed below (table 2).



          Table 2: “Efficacy” Outcomes in ROCKET AF

                                          Xarelto       Warfarin

          Total SSE:                      3.8%          4.3%

          Total Stroke                    3.6%          4.0%

          Hemorrhagic Stroke              0.5%          0.8%

          Ischemic Stroke                 2.9%          2.9%

          Stroke of Unknown Type          0.3%          0.3%

          Systemic Embolism               0.3%          0.4%



          Thus, noninferiority was seen across all the components of the primary

          endpoint. Additionally, there were no significant differences in the rate of

          SSE across multiple prespecified subgroups, including: prior warfarin use (yes

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          or no), age, gender, weight, prior stroke or TIA, diabetes, CHADS2 score,

          creatinine clearance, geographic region, or the use of low dose aspirin at

          baseline. Also, the efficacy of Xarelto as compared with warfarin was as

          favorable in centers with the best INR control as in those with poorer control.

          In quartiles of center TTR, going from the lowest TTR to the highest, the

          hazard ratios for Xarelto vs warfarin were 0.70, 0.89, 0.89, and 0.74

          respectively, with no statistical difference in any quartile although event

          rates on Xarelto were lower than on warfarin in each of them.



          Among patients who stopped taking the assigned study drug before the end

          of the study, during a median of 117 days of follow-up after discontinuation,

          primary events occurred in 81 patients in the Xarelto group (4.7% per year)

          and in 66 patients in the warfarin group (4.3% per year) (P= 0.58). However,

          during the first 28 days after the end of the study, there were 22 strokes in

          the Xarelto pts vs 6 in the warfarin pts.44 Importantly, the ROCKET AF

          protocol did not stipulate anticoagulation after study drug discontinuation.

          Warfarin pts who completed the trial (in which INRs determined during the

          trial were real, not sham) were generally switched to open-label warfarin.

          Xarelto pts were generally switched to open-label warfarin without any

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          bridging strategy.   As such the Xarelto patients were not adequately

          anticoagulated after stopping Xarelto until attaining a therapeutic INR –

          which takes an average of 2 weeks or more, since the elimination time of

          Xarelto after dosing is stopped is only a couple of days. The higher event rate

          in the Xarelto group is essentially entirely explainable by the double-blind,

          double-dummy nature of the trial, the CHADS2 score of the population, the

          half-life of Xarelto, and the time it takes to achieve steady INRs above 2.0

          with new start warfarin. Prolonged interruptions in anticoagulation of high-

          risk AF patients have been shown in other AF databases to be associated with

          an increased risk of stroke.44a While one may ask why physicians were not

          told to bridge their pts upon completion of the trial, ROCKET AF was designed

          as a “real-world” study in which physicians were free to dose warfarin as they

          saw fit, to modify doses as they saw fit (rather than by a prescribed

          algorithm), and to treat pts as they saw fit whenever their anticoagulation

          was held. Moreover, because of this, I believe that the better way to assess

          the rivaroxaban vs warfarin events in ROCKET AF that occurred at the end of

          the trial is by the on-therapy, per-protocol approach (as was used in the

          NEJM manuscript) rather than by the intention-to-treat approach.




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          In the intention-to-treat analysis,31 rates of major bleeding were similar in

          the Xarelto and warfarin groups (3.6% and 3.5%, respectively; no significant

          difference). Decreases in hemoglobin levels of 2 g per deciliter or more and

          transfusions were more common among patients in the Xarelto group,

          predominately due to a higher rate of major GI bleeding (2.0% vs 1.2%),

          whereas fatal bleeding (0.2% vs 0.5%) and bleeding at critical anatomical

          sites were less frequent in the Xarelto group as compared to the warfarin

          group. Rates of intracranial hemorrhage were significantly lower in the

          Xarelto group than in the warfarin group (0.5% vs 0.7%). Importantly, I

          believe that to keep analyses in perspective, whenever bleeding is discussed,

          the discussion must include the risk of fatal bleeding. Recall the material

          above where I stated that one cannot simply count strokes and bleeds

          numerically but rather, they must be considered functionally. I cannot

          imagine that a pt would equate having a stroke as being no worse than

          having a non-fatal bleed.



          In sum, the ROCKET AF trial30, by intention-to-treat analysis revealed that

          Xarelto, given without blood test monitoring to guide dosing, was

          noninferior to warfarin in reducing SSE, and in overall risk for major bleeding,

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          but was better than warfarin in regards to the risk of a fatal or intracranial

          bleed, as a cost of higher (but nonfatal) GI bleeding (and transfusion

          requirements). While each of these findings may have been non-identical

          across the multiple geographical areas that took part in the trial, analysis by

          such subgroups was not designed as part of the overall trial assessment, just

          as it was not in the other major NOAC vs warfarin trials; nor was the trial

          powered to do such analyses; nor would retrospective propensity-matching

          provide a sufficiently accurate means of attempting such comparisons in this

          high-risk,    complex      co-morbidity,      poly-pharmacy        (mean   of     9

          medications/day) population. It is vitally important to recognize that post

          hoc, and/or retrospective, and/or subgroup analyses provide information

          that at best may be hypothesis-generating but cannot be taken as factual

          certainty. The results may be real, may be biased by the non-randomized

          groups, or simply a play of chance. Often, when tested in a subsequent

          prospective, randomized, double-blind, placebo-control or active-control

          trial, such hypothesis-generating observations are proven misleading,

          wrong, or even diametrically opposite of the truth. One only has to look at

          the MPIP followed by the CAST trial, or the ATHENA followed by the PALLAS

          trial to demonstrate the truth of this statement. 44b, 44c, 44d, 44e

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          Additionally, while some may ask as to whether a blood test guidance of

          Xarelto dosing (as by PT or anti-factor Xa levels) might have provided

          different, and perhaps even better results with rivaroxaban, that was not

          part of the ROCKET AF trial (nor of the other factor Xa inhibitor vs warfarin

          trials). It is a reasonable question to ask theoretically, but it cannot be

          presumed to be factually true without a prospective blinded trial to test it.

          There are many circumstances in my clinical trial experience of over 4

          decades, in which assumptions that appear quite logical have been proven

          to be entirely false and misleading when tested prospectively in a properly

          designed study as is noted above. Similarly, none of the NOAC trials had any

          analyses planned to assess the relationship of either efficacy or safety

          outcomes to the PK curves of the drugs studied. Accordingly, we have not

          proven, for example, if stroke reduction or bleeding is related to the peak

          level achieved with a dose, the trough level achieved with a dose, or the

          mean concentration present during a dosing interval during these NOAC

          trials, other than perhaps bleeding risk and trough levels with dabigatran.




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          Comparison with other NOAC clinical studies:

          Practitioners often have the luxury of several different therapeutic options

          for the same indication that may work by similar or identical mechanisms.

          Consider beta blockers, ACE inhibitors, or statins, for example.       A more

          recent development is the emergence of an array of new oral anticoagulants

          (dabigatran, Xarelto, apixaban, and edoxaban) designed to replace warfarin

          in the management of AF.



          Although these four new agents share indications for use, these agents are

          not freely interchangeable. Each of these new anticoagulants was studied

          against warfarin in one major phase 3 trial rather than in multiple trials, but,

          none of these new agents were studied head to head in the same trial. And,

          none were studied against placebo. Moreover, the populations studied in

          each of the major pivotal trials (RE-LY, ROCKET AF, ARISTOTLE, and ENGAGE

          AF) were different, one from the next, in important ways, such as CHADS2

          score, mean age, percent with prior stroke or TIA, percent with HF, and other

          factors that can affect the rates of SSE (see table 1 above) as well as the TTR.

          Accordingly, direct comparisons of the results of Xarelto in ROCKET AF to

          those of the other new agents in their pivotal trials is not possible. The same

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          may be said for the VTE trials. The geographical distribution of sources of pts

          also differed across the studies (see below).



          Geography can play important roles in access to hospitals and to physicians

          (distance to, speed of access), likelihood of seeking care, severity of events

          likely to lead to medical care, severity of events by the time medical care is

          accessed,    types    of     diagnostic   and   treatment   capabilities   used,

          socioeconomic status and its related levels of education, diet, and disease

          severity, and more. Accordingly, while counts for strokes, fatal bleeds,

          intracranial bleeds, life-threatening bleeds, and deaths (all “hard” events)

          are likely to be accurate across different geographical regions, the accuracy

          and interpretation of numbers of “softer” events, such as any bleeding,

          hemoglobin drop and transfusion decisions, and other adverse events, is

          likely to be less certain.



          Nonetheless, there are notable commonalities across the trials. In each of

          the pivotal AF trials, the NOAC studied was noninferior or superior to

          warfarin in reducing the rate of SSE and the components of this primary

          endpoint. Similarly, the NOACs studied were all noninferior or superior in

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          their risk of major +/- clinically relevant non-major bleeding, fatal bleeding,

          and overall mortality. In each trial, the NOAC was superior to warfarin in the

          risk for intracranial hemorrhage.       For example, for major bleeding on

          warfarin the rates in ROCKET AF, RE-LY, ARISTOTLE, and ENGAGE AF

          respectively were: 3.4%, 3.6%, 3.09%, 3.7%. These appear remarkably

          compatible especially when one recalls that the respective CHADS2 scores

          were 3.5, 2.1, 2.1, and 2.8 and that bleeding rates are expectedly higher in

          pts with higher CHADS2 scores. Of important note, these commonalities in

          results were present despite the absence of any coagulation test monitoring

          in the NOAC arms of the trials, different geographies, different percentage

          of pts with prior anticoagulation experience, different mean TTR values,

          different ways to calculate the TTR, and different methods for measuring the

          protimes use to calculate both INR and TTR values.



          In ROCKET AF, the method of Rosendaal et al.43 was used to calculate the

          TTR. The same method was used in ARISTOTLE. In RE-LY the time that the

          INR was within the therapeutic range was calculated using the method of

          Rosendaal et al. but excluded INRs from the first week and during/after

          discontinuation(s) of the study drug. This should result in slightly higher TTR

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          values than would have been determined using the original Rosendaal

          method. In ENGAGE, the TTR in the warfarin group was calculated by means

          of linear interpolation with INR values rounded to the nearest 0.1.

          Moreover, in ROCKET AF, a point of care (POC) device (Alere INRatio) was

          used to measure the PT at patient visits; additionally, blood was drawn at

          weeks 12 and 24 for assessment at a central lab for additional analyses to be

          done later. Post-hoc it was decided to determine PTs as part of these later

          analyses. In contrast, ARISTOTLE and ENGAGE used a different point of care

          device and RE-LY only used a central laboratory.



          Beyond the above, other factors can result in TTR differences or in

          differences in interpretation of similar TTRs. The numbers used to calculate

          the TTR can be different from trial to trial. That is, TTR might represent just

          the numerical average of the INRs that were in range divided by the total

          number of INR determinations. However, this does not give credit to how

          long a pt was in the trial and followed. That is, one might attempt to consider

          the total period of anticoagulation as well; i.e., consider the frequency with

          which the INR is tested and how the time between tests is handled. If TTR

          simply is the number of all the individually tested INRs in the 2.0-3.0 range

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          divided by the total number of tests, the calculated result will be different

          than if total time on warfarin is also considered. Meaning, if an INR is low (or

          high) and the time to the next test is long, and each day between testing is

          considered to have the same result as the day of the prior test (or of the

          subsequent test) or to change linearly between tests [integrated or linear

          results, as is used in the Rosendaal method], then if TTR is calculated by the

          number of days in range over the total number of days, the determined TTR

          will be quite different than and lower or higher than the simple average as

          calculated above. Importantly, the number of actual tested INRs and the

          frequency of testing (which is not defined by the Rosendaal method not

          rigidly controlled in any of the NOAC vs warfarin pivotal trials but can

          significantly affect the results) thus also comes into play in the calculation

          (see more below).



          Additionally, and accordingly, for trials among which different geographic

          regional representation results in different access to care and frequencies of

          INR testing, then TTRs cannot be directly or reasonably compared.

          Geographical differences in likelihood of maintaining an INR within the target

          range do exist 44f and geographical differences did exist in the NOAC vs

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          warfarin AF trials. For example, in ROCKET AF, a smaller percentage of pts

          were enrolled from North America (19%) than were in RE-LY, ARISTOTLE, and

          ENGAGE AF (22% to 36%), while there were more from Europe (western plus

          eastern) (53% vs 40% to 48%). Likewise, the percent from Latin America in

          ROCKET AF (13%) differed from the other three trials (6% to 19%) whereas

          the percent from Asia-Pacific regions did not (all 15%-16%). Unknown to me

          is whether the geographical distribution within the U.S. from study to study

          also differed. One might expect that a greater or lesser representation of

          Pacific coast sites would alter the ethnicity profiles within the trials (and

          hence the percentage of patients of Japanese and other Asian extraction),

          and with it both altered drug pharmacokinetics and possibly the willingness

          to use the target INR range of 2.0 to 3.0. While U.S. subjects on Xarelto by

          subgroup examination had higher reported bleeding rates on Xarelto in

          ROCKET AF than did pts from other locations, they did not have more fatal

          or intracranial bleeds. As noted above, differences in access to care reflected

          by differences in geography, especially on “softer” event rates, and possible

          biases associated with post-hoc subgroup analysis likely account for this

          finding in my opinion. Moreover, differences among trials in comorbidities

          that are known to affect the TTR, such as the percent of pts with HF,

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          spectrum of renal dysfunction, etc., also make inter-trial comparisons

          hazardous.



          Finally, an INR can be out of range because it is <2.0 or >3.0. Either will result

          in reduced TTR but implications will be different. Since INR <2.0 increases

          stroke risk and INR >3.0 increases bleeding risk, the same TTR but from

          different values can have different inter-trial results. In ROCKET AF 30% of

          the INRs were <2.0 and 15% were >3.0. Notably, these numbers do not tell

          us how far below or above the target range the individual results were or

          what the responses to them were. Importantly, to me, the similarities in

          efficacy and safety results across the trials despite these differences in

          assessing the level of warfarin anticoagulation has to suggest that the

          differences in PT methods and moderate differences in TTR values were of

          relatively small impact with respect to the commonalities of the outcomes

          seen in the trials, including those of ROCKET AF. The same conclusion is

          supported by the consistency of the results across quartiles of TTR or across

          centers with different mean TTRs within ROCKET AF (see below).




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          Additional Clinical Trials and Post-Market Data on Xarelto:

          Although there has been no second prospective, randomized pivotal trial of

          Xarelto vs warfarin in predominately non-Asian high-risk AF pts, there is

          substantial and growing data from other clinical trials as well as “real-world”

          post-market experience with Xarelto in both AF and VTE populations that is

          highly consistent with and supportive of the Xarelto data from ROCKET AF.

          This data both: (1) corroborates and bolsters the conclusions of ROCKET; and,

          (2) confirms that Xarelto is safe and effective as compared to warfarin.

          Supporting these conclusions are the reviews and decisions by many

          regulatory agencies around the world. These sources include data from

          randomized clinical trials, observational studies, and post marketing safety

          and pharmacovigilance activities. 45-48, 48a, 48b



          Randomized Clinical Trials

          The EINSTEIN program (the EINSTEIN DVT and EINSTEIN PE studies)37,38

          were prospective, randomized, multinational, open-label studies comparing

          Xarelto to a combination of short-term low molecular weight heparin

          followed by long-term vitamin K antagonist (warfarin or acenocoumeral)

          therapy in 8,282 patients with either DVT or PE. The POC device was not

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          utilized to monitor INR in these studies. In a planned pooled analysis of the

          EINSTEIN-DVT and PE studies, the primary efficacy outcome occurred in 86

          (2.1%) Xarelto treated patients compared with 95 (2.3%) standard-therapy-

          treated patients (HR, 0.89; 95% CI, 0.66 - 1.19; P for noninferiority p<0.00I).

          Major bleeding was observed in 40 (1.0%) and 72 (1.7%) patients in the

          Xarelto and standard-therapy groups, respectively (HR, 0.54; 95% CI, 0.37 -

          0.79; p = 0.002). According to the authors, "The single-drug approach with

          Xarelto resulted in similar efficacy to standard-therapy and was associated

          with a significantly lower rate of major bleeding. Efficacy and safety results

          were consistent among key patient subgroups". Data from the EINSTEIN

          program presents an additional perspective on the comparison of Xarelto to

          warfarin therapy. Here again, Xarelto was shown to be both safe and

          efficacious, findings that are consistent with those from the ROCKET AF

          program as well as from multiple other sources as described below. The post

          orthopedic surgery RECORD studies data38a-d are likewise supportive, but will

          not be detailed further here as the focus of this report is atrial fibrillation.



          J-ROCKET AF48c was a prospective, double-blind, randomized trial, similar to

          ROCKET AF, performed in Japan, that compared rivaroxaban versus warfarin

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          in Japanese patients with nonvalvular atrial fibrillation. The INR target was

          slightly lower than in ROCKET AF, as per the Japanese custom, for older pts

          and rivaroxaban doses were also slightly lower (10, 15 mg bid) as appropriate

          for the Japanese metabolic profile. In J-ROCKET, there were no significant

          differences between rivaroxaban and warfarin in major bleeding (3.0% vs

          3.59%) or major plus clinically relevant non-major bleeding. Intracranial

          hemorrhage was significantly lower on rivaroxaban.



          Observational Studies

          XANTUS was a “real-world”, prospective, observational study of atrial

          fibrillation patients [mean CHADS2 score 2.0] treated with Xarelto for stroke

          prevention.46,48 There were 6,784 patients treated with Xarelto at 31 1

          centers. The mean treatment duration was 329 days. The incidence rate of

          treatment-emergent major bleeding was 2.1/ 100 patients-years (95% Cl 1.8

          - 2.5). The incidence rate of all-cause death was 1.9/100 patients-years (95%

          CI 1.6-2.3), consistent with the age and underlying conditions of this

          population. The authors state that, "With the distribution of stroke risk

          scores in XANTUS, real world stroke incidence was low in patients receiving

          anticoagulation, with an annual stroke rate of 0.7% (vs. 1.7 events per 100

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          patient-years in the ROCKET AF on-treatment population). The incidence rate

          of major bleeding was 2.1 events per 100 patient-years, which is lower than

          in the sicker pts [mean CHADS2 score 3.5] in ROCKET AF (3.6 events per 100

          patient years)".



          In a matched-cohort study performed independently of JRD/Bayer with

          information from French health-care databases,48 data were extracted for

          adults with nonvalvular atrial fibrillation who received their first prescription

          for a vitamin K antagonist between Jan 1, 2011 and Nov 30, 2012 and who

          were either switched to a NOAC (dabigatran or Xarelto) or maintained on the

          vitamin K antagonist. Of 17,410 participants, 6,705 switched to a NOAC

          (switchers) and 10,705 remained on vitamin K- antagonist therapy (non-

          switchers).   After a median follow-up of 10.0 months, no significant

          difference was noted between groups for bleeding events (99 [1%] in

          switchers vs 193 [2%] in non-switchers, p=0.54) although numerically

          bleeding events were lower on the NOAC. In adjusted multivariate analyses,

          the risk of bleeding in switchers was not statistically different from that in

          non-switchers (HR, 0.87; 95% CI 0.67 - 1.13). Additionally, no differences

          were noted when the risk of bleeding was compared among switchers from

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          a vitamin K antagonist to dabigatran (HR, 0.78; 95% CI 0.54 - 1.09), switchers

          from a vitamin K antagonist to Xarelto (HR, 1.04; 95% CI 0.68 - 1.58) and non-

          switchers. The authors concluded that the "findings suggest that patients

          with nonvalvular atrial fibrillation who switch their oral anticoagulant

          treatment from a vitamin K antagonist to a non-vitamin K antagonist are not

          at increased risk of bleeding. Future studies with longer follow-up [or larger

          numbers] might be needed." In some respects, (certainly fatal bleeding and

          intracranial bleeding), they would appear to be at lower risk on a NOAC.



          A replication of the FDA Mini-Sentinel observational study in atrial

          fibrillation patients conducted by Janssen and an ongoing Mini-Sentinel

          observational study conducted by the FDA.22a, 48 The Janssen study replicated

          the analysis proposed in the FDA Mini-Sentinel protocol and executed the

          analysis against the Truven Market Scan Medicare Supplemental

          Beneficiaries Database (MDCR). There were 22,152 Xarelto new users who

          met inclusion criteria in the database. In this analysis, there was no

          difference between Xarelto and warfarin users in the occurrence of ischemic

          stroke (HR, 0.86; CI 0.65 - 1.12). For the occurrence of intracranial

          hemorrhage, there was a statistically significant decreased risk in Xarelto

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          new users relative to warfarin new users (HR, 0.54; Cl 0.34 - 0.83). For

          gastrointestinal bleeding, there was a statistically significant increased risk in

          Xarelto new users relative to warfarin new users (HR, 1.35; 1.13 - 1.62). These

          results were largely consistent with the reported results from the ROCKET-

          AF study. In the FDA study that assessed 41,648 new users of rivaroxaban

          and 89,080 new users of warfarin that were then propensity matched, the

          hazard ratios for GI bleeding and intracranial hemorrhage were directionally

          similar to those observed in ROCKET AF. In contrast to ROCKET AF, a

          reduction in risk of ischemic stroke for rivaroxaban vs warfarin was observed.

          These analyses “do not raise safety signals regarding bleeding risks for

          rivaroxaban.” 22a



          A Post-Marketing Safety and Pharmacovigilance program (PMSS). PMSS is

          a prospective post-marketing pharmacovigilance study for the detection and

          evaluation of major bleeding events in Xarelto users with atrial

          fibrillation.45,48 The cumulative report from January 1, 2013 to June 30, 2015

          included 44,793 atrial fibrillation patients taking Xarelto. 1,293 patients

          experienced at least one major bleeding event. The major bleeding incidence

          rate within the NVAF cohort was 2.84 [95% CI 2.69-3.00] per 100 person-

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          years. The mean CHADS2 score was higher (3.0) in pts with a major bleed

          than in those without (2.2). To provide context, the reported rates of major

          bleeding were 3.6% (per person-year) for Xarelto and 3.5% (per person-year)

          for warfarin in patients with NVAF in the ROCKET-AF study. The most

          common bleeding site in the NVAF cohort was gastrointestinal, representing

          86.3% of the bleeds (l,116/1,293), followed by intracranial representing 8.1%

          (105/1,293). Forty-one (41) of the 1,293 NVAF patients died during their

          hospitalization for the major bleeding event (a case fatality rate of 3.2%),

          reflecting an overall fatal bleeding rate of 0.09 [95% CI 0.07, 0. 12] per 100

          person-years in this cumulative reporting period. Of those who died, 29

          (70.7%, [29/41]) experienced ICH whereas 12 (29.3%, [12/41]) had GI

          bleeding, resulting in case fatality rates of 27.6% (29/105) for ICH and 1.1%

          (]2/1,116) for GI bleeding.



          XALIA was a real world, international, observational study performed in 4768

          pts with VTE in which Xarelto results were compared with those of standard-

          therapy (mainly a heparinoid followed by warfarin).47,48 Recurrent VTE was

          lower on Xarelto (1.4% vs 2.3%) as was major bleeding (0.8% vs 2.1%). These

          results are directionally consistent with those of the EINSTEIN program.

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          13th PBRER/PSlJR for Xarelto.48 The cumulative worldwide exposure to

          Xarelto during the 6 years of marketing (since September 2008) is estimated

          at approximately 5.5 million patient years. The above post marketing data

          gathered subsequent to the pivotal trials does not change the favorable

          benefit-risk assessment of Xarelto in the approved indications.           This

          additional report covers the interval from September 16, 2014 to March 15,

          2015 and concluded that no new information has emerged during the

          reporting interval that would change the overall evaluation of benefit-risk for

          Xarelto in the approved indications.

          Retrospective National Insurance Database Assessments: In 2016, two

          manuscripts were published that examined large insurance databases with

          respect to specific NOACs versus warfarin, including rivaroxaban. One

          examined the Taiwan National Health Insurance Research Database.48a It

          reported that, as compared with warfarin, rivaroxaban significantly reduced

          the risk for ischemic stroke or systemic embolism, all-cause mortality, and

          intracranial hemorrhage. With respect to hospitalization for major bleeding,

          the rates per 100 person-years were 3.45 for rivaroxaban versus 4.33 for

          warfarin (hazard ratio 0.77, p=ns). The second reviewed a large US insurance

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          database that included both private insurance and Medicare.48b It reported

          on rivaroxaban vs warfarin (n=32,350), dabigatran vs warfarin(n=28,614) and

          apixaban vs warfarin (n=15,390) using propensity score matching. For

          rivaroxaban versus warfarin, there was no significant difference in either

          stroke/systemic embolism or in major bleeding rates, although rivaroxaban

          had a statistically significant lower rate of intracranial hemorrhage.         I

          mention these two trials here because, despite their retrospective design,

          and the major issue of selection-bias that is an issue in all such studies which

          cannot truly be overcome by propensity-matching, their observations are

          consistent with the rest of the rivaroxaban versus warfarin literature. And,

          when results are identical or strongly similar across many multiple studies,

          despite differences in design, they become important supporting

          observations.48d



          Of note, selection-bias is particularly relevant to studies of older patients

          with multiple comorbidities and complex concomitant medications where

          agents, doses, metabolism/elimination, and interaction potentials can vary

          tremendously. Moreover, a physician’s reasons for selecting particular

          treatments in particular patients are never known or documented in

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          observational studies, registries, and the like, although they certainly can

          affect, positively or negatively, the outcomes and are a major component of

          selection-bias. With respect to AF in particular, stroke risk, bleeding risk, and

          therapeutic complications are greatest in older and sicker patients and

          specific treatment of the concomitant disorders may affect outcomes

          independent of the anticoagulant selected.48e, 48f, 48g



          Additional retrospective studies:

          Beyond the above, there are still more additional retrospective database

          analyses, meta-analyses, and the like that have attempted to further assess

          either rivaroxaban vs warfarin or NOAC vs warfarin or NOAC vs NOAC efficacy

          and/or safety.48h-48ff The largest was reported by Peacock et al48ff in which

          nearly 10 million electronic medical records were reviewed to identify major

          bleeding related hospitalizations among rivaroxaban users with AF as part of

          an ongoing 5-year pharmacovigilance study. This report found that “The

          rates and pattern of major bleeding among rivaroxaban users with non-

          valvular atrial fibrillation in this study are low and similar to that of the

          registration trial.” I will not belabor the others in similar detail. Suffice it to

          say, given all the limitations I noted above about retrospective and

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          propensity-matched evaluations: (1) their findings are best used as

          hypothesis-generating rather than as proofs; (2) in none of them was the

          bleeding risk of Xarelto (given without any blood test monitoring) statistically

          higher than that of warfarin; and (3) in the NOAC versus NOAC reports, due

          to the differences in study design, dosing selection, follow-up times, patient

          populations, definitions of safety or efficacy outcomes, data collection

          methods, and overlap of datasets included, no consistent or definitive

          conclusions can be reached – especially when honest and fair-balanced

          assessment prevents me from “cherry-picking” amongst them in an attempt

          to biasedly show favoritism of one NOAC versus another.



          Thus, based upon this constellation of additional data, across a wide

          database of AF and non-AF patients alike in which no point-of-care

          prothrombin time device results were an issue, Xarelto has demonstrated a

          clinically useful profile with no excess bleeding in comparison to warfarin-

          based treatment regimens (see table 3 below), regardless of how protime

          tests may have been measured, how often, or by whom. The absolute

          numbers from trial to trial are dependent upon the population specifics and

          the length of follow-up.

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          Table 3: Major Bleeding in Multiple Xarelto vs Warfarin Study Databases:

                                    Xarelto        Warfarin regimen

          ROCKET AF                 3.6%                3.5%

          J-ROCKET AF               3.0%                3.59%

          EINSTEIN                  1.0%                1.7%

          XANTUS                    2.1/100 pt-yrs      ---------

          XALIA                     0.8%                2.1%

          PMSS                      2.86/100 pt-yrs

          Matched Cohort            1.0%                2.0%



          Responses to Anticipated ROCKET Criticisms:

          Alere INRatio Recall:49

          Background Information: On September 9, 2015, 50,51 Janssen (JRD) became

          aware of the potential applicability of a recall notice initiated on December

          5, 201449 regarding the POC devices used in the ROCKET AF trial program. As

          noted on the FDA website, the devices were being recalled in patients with

          certain disorders as they "may provide an INR result that is lower than

          expected result obtained using a laboratory INR method". According to the

          voluntary urgent correction notice issued by Alere,52, 53 the device should not

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          be used for patients with certain medical conditions, such as anemia with

          hematocrit < 30%, a hematocrit > 55%, conditions associated with elevated

          fibrinogen levels including acute inflammatory conditions, (e.g., pneumonia),

          chronic inflammatory conditions (e.g., rheumatoid arthritis), severe

          infection, advanced stage cancer, severe renal disease, any bleeding or

          unusual bruising noted by the patient. In these circumstances the INRatio

          generated INR results have overall been lower than simultaneously acquired

          INR results processed in a lab. Importantly, the device continued to be

          marketed and supported by Alere for use when such disorders are absent,

          although more recently the FDA announced its recall.



          The INRatio device was approved by U.S. FDA in 2002 "for use by healthcare

          professionals in monitoring patients who are on warfarin type

          anticoagulation therapy". The INRatio device, currently marketed by Alere

          San Diego, Inc., was previously marketed by HemoSense, Inc., (San Jose, CA).

          In 2006, the HemoSense INRatio was selected as the POC device that would

          be used in the conduct of the ROCKET AF trial program. Between 2006 and

          2008, JRD purchased over 3,000 POC devices for use by enrolling sites. On

          September 24, 2015, JRD received written confirmation from Alere that the

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          INRatio devices used in the ROCKET AF study were in fact included in the

          recall. 53



          Response to the recall notice: To better understand the potential effect of

          the recall on the results of the ROCKET AF study several sensitivity analyses

          were planned and performed by the Executive Committee for the trial at the

          Duke Clinical Research Institute (DCRI) and by the sponsor (see below).53-57

          More specifically, a subset of patients with conditions listed in the recall

          notice was to be identified. The impact on the primary efficacy and principal

          safety endpoints was evaluated in the population excluding the subsets with

          these conditions. The premise of the sensitivity analyses is that the INRatio

          device malfunction was only in patients with the recall-related conditions.

          Notably, nearly 90% of the warfarin treated subjects in the ROCKET AF trial

          had no discrepancy observed between the lab based INR value and device

          based INR value when they were compared. The likelihood of discordant

          results in only a small proportion of the overall population (<15% in 2 of the

          3 sensitivity analyses, see below) having a significant effect on the overall

          trial results would seem unlikely. Moreover, in the 161 samples sent for

          analysis in the Covance recheck option51,51a that was available to

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          investigators during ROCKET AF, where the Alere sample was compared to

          another sample taken at the same time (split sample) and analyzed centrally

          in the Covance recheck lab, only 16 were inconsistent with each other. This

          89% concordance is essentially the same as the nearly 90% noted above.



          The following were the sources for detection of the potential relevant

          conditions re: POC device inaccuracy:

                Baseline medical history - these data were entered at the time of

          randomization by the investigator in the "Relevant Medical History" field on

          the eCRF.

                Treatment-Emergent Adverse Events - these events were reported by

          the investigator as having occurred while the patient was taking study

          medication.

                Treatment-Emergent Serious Adverse Events - these events were

          reported by the investigator as having occurred while the patient was taking

          study medication. However, they are distinct from Treatment-Emergent

          Adverse Events as they met seriousness criteria.




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          Note: if the POC determined INRs were falsely low to a degree of clinical

          relevance (the definition of which might be dependent upon the patient’s

          status, physician responsiveness, the use of local laboratory retesting of the

          INR outside of the ROCKET AF protocol, etc.), the result most likely would

          have been an increase in the warfarin dose to a higher-than-really-needed

          warfarin dose – with an expected higher incidence of bleeding than was

          reported in the earlier-performed warfarin vs placebo control AF trials (on

          which the power calculations and noninferiority margins for ROCKET AF were

          based). Such excess bleeding is not the case when the data is examined in

          ROCKET-AF. Of course, other changes could have been made by the treating

          physician, such as adjusting diet or concomitant medications that might have

          accounted for a low INR. Alternatively, if the POC determined INRs were

          falsely high to a degree of clinical relevance, the most likely result would have

          been a warfarin dose reduction to a lower-than-really-needed warfarin dose

          – with an expectedly higher incidence of strokes than would have been

          expected. Again, this is not the case when the data is examined. And, as

          above, other changes, such as dietary or concomitant medications might

          have been made by the treating physician rather than or in association with

          a warfarin dose adjustment.

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          Analyses Performed:

          Focus was placed on capturing the populations for the sensitivity analyses by

          review of the medical conditions which could be reliably identified from the

          patient history [case report form (CRF) pages] and adverse event (AE) or

          serious AE (SAE) reporting. Relevant medical condition, for these analyses,

          denotes the disorders listed above that can affect the POC device accuracy.

          Recall-related time of observation denotes a censoring method used to

          precisely define the interval during which the Alere INRatio Monitoring

          System performance issue may have exerted an effect on the INR values on

          a given pt in the ROCKET AF trial. Recall-related time of observation

          considers not only the presence of relevant medical conditions and AEs/SAEs

          stop and start dates but also the timing of INRs performed with the device in

          association with these intervals. In brief, the mere presence of a relevant

          medical condition was not deemed sufficient to warrant exclusion from

          observation since it is the performance of an INR in association with this

          condition that is of probative value. For example, if a pt developed a relevant

          but transient medical condition but an INR was not performed during that

          interval, the device recall would not be relevant. Conversely, since INRs

          performed during a relevant medical condition may exert an effect even

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          after the AE/SAE stop date, exclusion continued until a subsequent (i.e.,

          unaffected) INR was performed.



          The categorization related to the relevant medical conditions was applied to

          the population for efficacy and safety analyses regardless of whether pts

          received Xarelto or warfarin. For all analyses, the comparison was between

          Xarelto and warfarin based upon the ROCKET AF study. Sensitivity analysis

          #1 included all available times of observation that were considered not

          impacted by the recall – that is, all pts, but excluded specific recall-related

          times of observation. The emphasis was to separate out and remove recall-

          related time of observation when comparing the treatments. Sensitivity

          analysis #2 is the most conservative analysis. It included only those patients

          without any recall-related time of observation ahead of any endpoint event

          or censoring/end of study occurrence. In other words, it excludes any

          subject who had a recall-related condition at any time in the trial. The

          emphasis was to separate out and remove from analysis all subjects who

          were impacted by a recall-related condition at any time during the trial.

          Sensitivity analysis #3 used the same time to event or censoring as in the

          original intention to treat (ITT) analysis, but a pt was included if an event or

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          censoring occurred outside of a recall-related time of observation. Thus,

          sensitivity analysis #1 did not use all data after randomization as in the

          original ITT analysis. It depended more than the other two sensitivity

          analyses on the definition of recall-related time of observation. Sensitivity

          analysis #2 excluded the most subjects and data. Sensitivity analysis #3

          involved a population that is a subgroup of the original ITT population.

          Despite the fact that these sensitivity analyses excluded some pts or periods

          of observation, the number of pts included and total time of observation in

          pt-yrs was still considerable.



          For the Efficacy Analyses: The number of subjects (Xarelto/warfarin) and

          total time of observation (Xarelto/warfarin) were: 7,081/7,090 and

          12,689/12,645 in the original ROCKET AF report. For sensitivity analysis #1

          they were: 7,081/7,090 (100%/100%) and 11,019/10,978 (86.6%/86.8%).

          For sensitivity analysis #2 they were: 4,674/4,672 (66.0%/65.9%) and

          8,079/7,993 (63.7%/63.2%).       For sensitivity analysis #3 they were:

          6,226/6,221 (87.9%/87.7%) and 11,070/11,029 (87.2%/87.2%).




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          For the Safety Analyses: The number of subjects (Xarelto/warfarin) and total

          time of observation (Xarelto/warfarin) were: 7,111/7,125 and 9,893/9,979 in

          the original ROCKET AF report.          For sensitivity analysis #1 they were:

          7,111/7,125 (100%/100%) and 8,466/8,554 (85.6%/85.7%). For sensitivity

          analysis #2 they were: 4,926/4,909 (69.3%/68.9%) and 6,411/6,489

          (64.8%/65.0%).      For sensitivity analysis #3 they were: 5,889/5,893

          (82.8%/82.7%) and 8,130/8,246 (82.2%/82.6%).



          Sensitivity Analysis #1-Efficacy

          For this analysis, the outcome was the Primary Efficacy Endpoint (composite

          of all stroke and non-CNS systemic embolism). The trial population used was

          the intent-to-treat (excluding site 042012) (ITT] population and the data

          scope was from randomization to the time of site notification (i.e., end of the

          trial). Patients who had a relevant chronic medical condition reported at

          baseline (i.e., in Relevant Medical History on the eCRF at the screening visit)

          were censored after the performance of the first lNR of the study. For the

          remaining patients, the analysis also excluded specific time intervals if they

          had a relevant medical condition, with censoring as defined in the recall-

          related time of observation".

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          Sensitivity analysis #1-Safety

          For this analysis, the outcome was the Principal Safety Endpoint (composite

          of major and non-clinically relevant bleeding). The trial population used was

          the safety population and the data scope was on-treatment. Patients who

          had a relevant chronic medical condition reported at baseline [i.e., in

          Relevant Medical History on the electronic CRF(eCRF) at the screening visit]

          were censored after the performance of their first INR of the study. For the

          remaining patients, the analysis also excluded specific time intervals if they

          time intervals if they had a relevant medical condition, with censoring as

          defined in "Recall-related time of observation" above.



          Sensitivity analysis #2 -Efficacy

          For this analysis, the outcome was the Primary Efficacy Endpoint. The trial

          population used was the ITT population and the data scope was from

          randomization to the time of site notification. This analysis completely

          excluded patients who had recall-related time of observation before the

          endpoint event or censoring. In other words, the only patients included in

          this analysis were those who did not have any recall-related time of

          observation before the endpoint event or censoring.

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          Sensitivity analysis #2 – safety

          For this analysis, the outcome was the Principal Safety Endpoint. The trial

          population used was the Safety population, and the data scope was on-

          treatment. This analysis completely excluded patients who had recall-related

          time of observation before the endpoint event or censoring. In other words,

          the only patients included in this analysis were those who did not have any

          recall- related time of observation before the endpoint event or censoring.



          Sensitivity Analysis #3-Efficacy

          For this analysis, the outcome was the Primary Efficacy Endpoint. The trial

          population used was the ITT population and the data scope was from

          randomization to the time of site notification. One can think of this analysis

          in terms of the occurrence of a primary efficacy event or a censoring event

          (i.e., reaching the end of the trial). For this analysis, if the primary efficacy

          event occurred or was the end of the trial was reached outside of a recall-

          related time of observation, the patient was included. What occurred before

          the event was not considered, provided the event occurred outside of a

          period of recall-related time of observation. As such, this cohort of the ITT




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          population is larger than that contemplated by Sensitivity Analysis #2 since

          it included some patients who had recall-related time of observation.



          Sensitivity Analysis #3-Safety

          For this analysis, the outcome was the Principal Safety Endpoint. The trial

          population used was the safety population, and the data scope was on-

          treatment. As above, one can think of this analysis in terms of the occurrence

          of a principal safety endpoint or a censoring event (i.e., reaching the end of

          the treatment with study drug). For this analysis, if the principal safety

          endpoint occurred or the end of the treatment with study drug was reached

          outside of a recall-related time of observation, the patient was included.

          What occurred before the event was not deemed relevant, provided the

          event occurred outside of a period of recall-related time of observation. As

          above, this cohort of the selected population was larger than that

          contemplated by Sensitivity Analysis #2 since it included some patients who

          had recall-related time of observation.



          In sum, three sensitivity analyses were designed to obtain a more thorough

          understanding of the potential effect of the recall on the results of the

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          ROCKET AF study, each having its own strengths and limitations. Although

          they are labelled as Sensitivity Analysis 1, 2 and 3, they are viewed as having

          equal importance and provide complementary perspectives. Sensitivity

          Analysis #1 included all patients but excluded specific recall-related times of

          observation; its focus was on exposure periods. The other 2 analyses focused

          on patients included or excluded from the excluded from the analysis.

          Sensitivity Analysis #2 is the most conservative as it includes only those

          patients without any recall-related time of observation ahead of any

          endpoint event or censoring. Sensitivity Analysis #3 is less restrictive: a

          patient was included if an event or censoring occurred outside of a recall-

          related time of observation.



          Analysis of Available Data:

          The results of the sensitivity analyses are summarized in the next three tables

          (tables 4, 5, 6). Of the total safety population of 14,236 pts, 63% had no

          recall condition while 37% did. Both types of pts were equally distributed

          between Xarelto and warfarin treated groups. Table 4 provides a summary

          of the subjects with recall-related time of observation while on treatment.

          Approximately 1/3 in each treatment group had any recall-related time of

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          observation. Total adverse events occurred in approximately ¼ with around

          5% SAEs. Only 2.6%-2.8% of subjects had a hematocrit measured to be <33%

          or >55%. Those with a chronic medical condition reported in the correction

          notice/recall made up just over 10%.

          Table 4:




          Table 5 provides the output of the original ROCKET AF Efficacy analysis and

          the 3 sensitivity analyses performed. In the ITT population, Xarelto remained

          non-inferior to warfarin for the primary efficacy outcome of composite of

          stroke and non-CNS systemic embolism in all three analyses. In the three

          sensitivity analyses performed, no meaningful shifts in the respective hazard

          ratios for Xarelto versus warfarin are observed, and the upper bound of the


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          confidence interval did not change meaningfully. The upper limit of the 2-

          sided 95% confidence interval for each of the 3 sensitivity analyses remains

          well below the non-inferiority margin pre- specified in the original trial

          analysis of 1.46 in terms of risk (hazard) ratio, so that non- inferiority of the

          study drug is still secured and declared. Of the three sensitivity analyses, the

          largest difference in both event rate and hazard ratio was observed in

          Sensitivity Analysis 2, which included only those patients without any recall-

          related time of observation ahead of any endpoint event or censoring. Here

          the event rates per 100 patient-years increased slightly in both treatments

          compared to the original analysis (2.29 as opposed to 2.12/100 patient-years

          Xarelto, and 2.74 vs 2.42/100 patient-years warfarin), but the hazard ratio

          decreased modestly compared with the original hazard ratio, and the upper

          bound of the 95% CI remained well below the non-inferiority margin.




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          Table 5:




          Table 6 provides the event rates and hazard ratios for the time to the first

          occurrence of bleeding events while on treatment in the Safety population

          for the original ROCKET AF Safety analysis, as well as for the three sensitivity

          analyses performed. Evaluation in the Safety population of the event rates

          and hazard ratios for the three sensitivity analyses showed that the bleeding

          event rates with Xarelto and warfarin for the principal safety endpoint

          remained comparable and little changed from the original analysis, with no

          statistically significant differences observed between treatment groups. In

          Sensitivity Analysis 2, which included only those patients without any recall-

          related time of observation ahead of any endpoint event or censoring, event


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          rates increased somewhat on both Xarelto and warfarin compared to the

          original analysis (16.55 as opposed to 14.91/100 patient-years Xarelto, 15.38

          as opposed to 14.52/100 patient-years warfarin) but the hazard ratio was

          only slightly higher, and the lower bound of the 95% CI in this comparison

          did not reach or cross the line of unity.

          Table 6:




          Interpretation: Each of the three sensitivity analyses support the original

          results from the efficacy and safety analyses of the ROCKET AF trial and

          confirm the positive benefit/risk profile of Xarelto in this population. The

          upper limit of the 2-sided 95% confidence interval for each of the 3 sensitivity

          analyses remains well below the non-inferiority margin pre-specified in the

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          original trial analysis, allowing the conclusion of non-inferiority of Xarelto to

          warfarin to remain unchanged. In regard to the principal safety outcome of

          the composite of major and non-major clinically relevant bleeding,

          evaluation of the event rates and hazard ratios for the three sensitivity

          analyses, which in various ways took into consideration that the lNRatio®

          Monitor System was used to assess PT INR values in the trial, shows little

          change from the original analysis for Xarelto versus warfarin. Furthermore,

          as reported in the New England Journal of Medicine (NEJM),55, 56 among pts

          with any recall condition, there was a trend towards a greater relative risk

          for major bleeding on Xarelto vs warfarin that was not seen among pts with

          no recall condition. This finding does not support the hypothesis that device

          malfunction led to a greater bleeding risk in the warfarin group in ROCKET

          AF. Thus, the effect of potentially discrepant INR readings does not alter the

          conclusions of the ROCKET AF trial. Lastly, not considered in the above is the

          existence of some data that when performing a PT on a specimen that has

          been frozen (as was the case with the bloods used for the 12 and 24 week

          INR assessments), the value obtained may be falsely elevated.58, 58a Thus,

          when comparing the INRatio device INR numbers which were felt to be

          falsely low by 13% to the central lab numbers, some of which could be falsely

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          high (to an unknown degree), the real difference may be less than what

          seems apparent on first glance.



          Additional supporting observations:22a, 59-62

          During the conduct of ROCKET AF, blood samples for pharmacodynamic

          analysis were scheduled to be obtained from all pts at week 12 and week 24.

          For determination of PT and INR, these samples were run on a laboratory-

          based auto analyzer in one central laboratory. Because discrepancies in the

          sensitivity analyses were noted with similar frequency in pts with and

          without the recall-related conditions, additional analyses were performed

          using these 12 and 24 week stored samples. Specifically, the INRs from these

          samples run centrally were compared with those obtained via the POC

          device if the samples were obtained on the same calendar day. Comparisons

          were made for both warfarin-impacted subjects [those with recall-related

          time of observation during the testing interval] and warfarin not impacted

          subjects [subjects without recall-related time of observation during the

          testing interval].




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          INR results obtained at 12 and 24 weeks revealed that there was a linear

          correlation for the lab-based INR value to the device-based INR value at week

          12 and week 24 in the vast majority of subjects with or without any recall-

          related time of observation. Nearly 90% of the warfarin treated subjects in

          the ROCKET AF trial had no discrepancy observed between the lab based INR

          value and the device based INR value at week 12 or week 24. It would seem

          unlikely that results in the remaining 10% would substantially alter the

          results seen in the overall trial. And, discrepancies present at week 12 or

          week 24 were often not present at both weeks 12 and 24. The concordance

          of the POC and lab INR data obtained at 12 and 24 weeks and inconsistency

          of discordance in the minority of subjects who had any discordance supports

          the efficacy and safety outcomes of the overall ROCKET AF conclusions.



          Moreover, while both the median and mean difference between the INRs by

          the two methods show that the POC device INR was about 13% lower than

          the lab INR, the efficacy and safety event rates in the study did not always

          reflect what one might presume would be the consequent effects of this

          difference in INRs.




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          Subsequently, several additional exploratory analyses were performed to

          further assess if the Alere INRatio device values had any significant impact

          on the interpretation of ROCKET AF. Four were based upon various cut points

          for discrepancy (a device based INR being outside of the lab based INR by

          particular amounts) and concordance (device based INR and lab based INR

          being in the same categories of below, within, or above the 2.0-3.0 target).22a,

          61
               Discrepancy (inconsistency criterion) was defined as device based INR

          being outside of lab based INR +/- 0.5 if lab based INR <2 or +/- 30% if lab

          based INR is 2 or higher [adapted from the 2007 ISO 17593 guidance

          document]. Concordance (consistency criterion) was defined as having the

          device and lab based INRs in the same INR categories of <2, 2-3, 3-4, and >4.

          Inconsistency analyses were performed both when the device based INR was

          lower than the lab based INR by at least 1 category, and when lower by at

          least two categories. Higher bleeding rates for the warfarin subgroup with

          discrepancy or without concordance occurred as compared to those without

          discrepancy or with concordance. However, bleeding rates in warfarin pts

          without consistency relative to the almost 90% subgroup with consistency in

          INRs were not matched by lower efficacy rates as one would hypothesize if

          INR values and responses to them drove the observed event rates. Within

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          the subgroups defined by concordance/non-concordance, the efficacy and

          safety event rated did not consistently reflect the most likely expected

          effects on efficacy and safety outcomes. For example, when there was an

          observed increase in the bleeding risk for subjects with a lower POC device

          INR, which could potentially have led to a higher warfarin dose, it might be

          expected that the efficacy event rates would be better. However, this was

          not consistently observed. Higher bleeding rates for warfarin subgroups with

          or without concordance were not matched by lower efficacy rates as one

          would hypothesize if INR values, bleeding, and the response thereto would

          be driving the observed event rates. Furthermore, in the same analyses,

          inconsistencies in sham INR measurements (and presumably the responses

          thereto) were associated with differences in Xarelto event rates as well as

          warfarin response rates. Since the dose of Xarelto was not modified in the

          trial, the results could conceivably represent a play of chance, but more

          likely, were consequent to the underlying disorder(s) that led to the device

          recall notice, [or periods that they were present] +/- interactions between

          rivaroxaban and the drugs used to treat these conditions. Thus: primary

          efficacy and safety outcomes in subgroups with and without INR

          discrepancies were consistent with those of the overall trial population

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          (demonstrated in these analyses as done for the EMA analysis). Overall, the

          trial efficacy and safety hazard ratios were not significantly different in

          discordant vs concordant groups. Additionally, the results in the pts with

          concordance and with no discrepancy between the Alere device INRs and the

          central lab INRs at 12 or 24 weeks, in whom a deviation between the INRs

          and a speculated possible resultant change in warfarin dose is no longer a

          relevant concern, support the results and conclusions of the overall trial

          (tables 7, 8, 9, and 10). This is a strong finding since if the device based INRs

          and lab based INRs are similar, then neither outcome differences, if any, nor

          outcome similarities can be blamed on falsely low results for the device based

          INRs.

          Table 7: Efficacy data in patients without discrepancy




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          Table 8: Efficacy data in patients with concordance




          Table    9:    Safety    data     in    patients      without   discrepancy




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          Table 10: Safety data in patients with concordance




          Furthermore, and interestingly, in a post hoc analysis done by the executive

          committee, the INR discrepancies, when present, appeared unrelated to the

          conditions listed in the recall notice.     This analysis demonstrated no

          significant interactions between patients with any recall condition vs no

          recall condition, and, a trend was observed in patients with a recall

          condition: higher risk of major bleeding with Xarelto than with warfarin.

          Figure 7 summarizes these above findings.




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          Figure 7: Sensitivity and Subsequent Additional Analyses Conclusions




          Finally, several more additional analyses were also performed.22a, 58a Both

          Janssen and the FDA used mathematical modeling approaches (six in total)

          to estimate the clinical outcome results that might have occurred in ROCKET

          AF if a more accurate INR assay had been used to guide the warfarin dosing;

          that is, a point-of-care device whose results were similar to those of the

          central lab assay. These analyses have been considered as modified-warfarin

          analyses, and take into consideration the dose-response/dose-risk curves

          seen in figure 4b above and other possible responses to or calculated

          adjustments or the reported INRs and recommended warfarin dose

          adjustments based upon INR values such as those by the American College

          of Chest Physicians.61a “Each of these analyses predicted a small decrease in

          the expected rate of major bleeding in the warfarin arm compared to the
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          observed rate…reductions in the range of 7% to 10%. In each analysis the

          hazard ratio or rate ratio for major bleeding for rivaroxaban vs warfarin was

          reciprocally increased. Estimated rates of other types of bleeding in the

          warfarin arm were also reduced to a small extent. Overall, these estimated

          reductions in the rates of bleeding events in the warfarin arm were small

          enough so that the benefits of rivaroxaban would still outweigh its risks if

          efficacy were not affected. Notably, two of the analyses also estimated the

          rate of ischemic stroke and one estimated the rate of the primary efficacy

          endpoint of total stroke plus systemic embolism. Both predicted that the

          rate of ischemic stroke would be increased in the warfarin arm, resulting in

          an expected improvement of the efficacy of rivaroxaban relative to warfarin”

          and an increase in the rate of the primary endpoint in the warfarin arm. “A

          fortiori, compared to warfarin, the benefits of rivaroxaban would still

          outweigh its risks.”22a “The information summarized above indicates that it is

          quite likely that patients in the warfarin arm of ROCKET unintentionally

          received higher doses of warfarin than they would have received if the

          INRatio device had provide results similar to those provided by the

          laboratory-based device at Duke. However, the effects of this increased

          intensity of anticoagulation on clinical outcomes were likely to have been

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          quite modest. It seems very unlikely that if the device had performed

          similarly to the INR assessment device at Duke, the benefit/risk profile of

          rivaroxaban compared to warfarin would have been notably different from

          the profile based on the observed results of ROCKET. Accordingly, the

          conclusion we made in 2011 that the benefits of rivaroxaban in patients with

          non-valvular atrial fibrillation outweigh its risks should not be changed.”22a

          Similarly, “the additional sensitivity analyses provided by the MAH in

          response to the FDA request results in minor or only modest differences in

          the hazard ratios for the major efficacy and safety outcome as compared to

          the originally reported results. This is in accordance with the sensitivity

          analyses performed and assessed in the previous EMA reports related to FUN

          37…Thus, the conclusions made in the previous CHMP reports in relation to

          LEG 37 remain. There is sufficient evidence to conclude that the benefit/risk

          balance remains unchanged and favourable for treatment with rivaroxaban

          in the prevention of thromboembolism in non-valvular atrial fibrillation.” 58a



          The risk of embolic stroke in nonanticoagulated AF can be roughly estimated

          by doubling the CHADS2 score – though with higher scores the event rate is

          slightly higher than this estimate (see figure 2 in the section above regarding

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          risk-scoring systems) – especially in pts with a history of a prior stroke/TIA.

          Using this information, one could estimate what the stroke event rate would

          have been in RE-LY, ROCKET AF, ARTISTOTLE, and ENGAGE AF, in the warfarin

          arm, had placebo been used instead of warfarin (using the CHADS2 score as

          the basis for this estimate). In RE-LY, ROCKET AF, ARISTOTLE, and ENGAGE

          AF respectively, the mean CHADS2 score was 2.1, 3.5, 2.1, 2.8. In ROCKET AF,

          most of the pts had a prior stroke or TIA (a particularly high risk population).

          To me this would suggest the untreated stroke rates would be

          approximately: RE-LY: 4-4.5%, ROCKET AF: 6.5-8.0%, ARISTOTLE: 4-4.5%,

          ENGAGE AF: 5.5-6.5%. A 62% reduction with warfarin would yield expected

          rates of: RE-LY: 1.3-2.79%, ROCKET AF: 4.03-4.96 %, ARISTOTLE: 1.3- 2.79%,

          ENGAGE AF: 3.41-4.03%. The actual rates observed in the warfarin arms

          were: RE-LY: 3.4%, ROCKET AF: 2.42%, ARISTOTLE: 1.60%, ENGAGE AF:

          1.80%. Thus, despite TTRs less than 70% in each of the trials (determined by

          some variant of the Rosendaal method but not calculated in a consistent

          manner among the trials), and despite using point-of-care protime testing

          devices in ROCKET AF (with questions raised about the accuracy of the

          devices used in ROCKET AF), the event rates were lower than would be

          expected (in all trials except RE-LY), and were especially so in ROCKET AF,

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          where the event rates would be expected to be particularly high due to the

          high percentage of pts enrolled with a prior history of stroke/TIA. The above

          constellation of information would also suggest that the results in ROCKET

          AF could not have been significantly affected by the accuracy of the point-of-

          care device. If the point-of-care determined INRs were falsely low and did

          affect the ROCKET results significantly, the result most likely would have

          been the use of a higher-than-really-needed warfarin dose – with an

          expected higher incidence of bleeding than was reported in the above-noted

          warfarin vs placebo trials. Such is not the case when the data is examined in

          ROCKET-AF. As stated earlier, when the POC and lab INRs were compared in

          the 12 and 24 week samples, the mean device-determined INRs were more

          often lower than the lab measured INRs when the two values were

          nonconcordant. Based upon this, some more detailed hypotheses might be

          made (including that the TTR calculations were erroneous):

                If the POC INR was < 2.0 (or so), the warfarin dose was potentially then

          increased. If the actual INR were in range, this could result in a consequent

          increase in the lab INR with an increased risk of bleeding.




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                If the POC INR were in range, then the lab INR was likely in range or

          elevated. If it were elevated, but no change in warfarin dose was made, this

          could also increase the risk of bleeding.

                If the POC INR were elevated, then the lab INR could have been even

          more elevated. The warfarin dose could have been decreased, but may not

          have been reduced as much if it was based on the POC value, and thus, again,

          could result in a higher risk of bleeding.

                Therefore, one could ask whether the non-inferior results of Xarelto

          vs warfarin in ROCKET AF with respect to bleeding were valid. If in fact, the

          bleeding risk on warfarin in the trial was falsely elevated due to the above

          POC INR issues, then in fact the Xarelto bleeds would be in truth higher than

          what the true bleeds on warfarin would have been if the lab INR’s had been

          used. However, several findings strongly point against this conclusion:

                As noted above, only about 10% of the pts in ROCKET AF were so

          affected, and thus likely did not sway the overall results significantly.

                If the above were true, then the fact that both fatal bleeds and ICH on

          Xarelto were lower than on warfarin in ROCKET AF (the main study and the

          sub analyses above) becomes even more impressive.




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                Moreover, if the above were true, then one would expect the bleeding

          rates, and especially fatal outcomes to be higher on warfarin in ROCKET AF

          than in the other AF NOAC trials (beyond that explained by it higher CHADS2

          score population). However, this is not the case (table 11) when one looks

          at the data from ROCKET AF, RE-LY, ARISTOTLE, and ENGAGE AF (although

          comparisons are somewhat limited by different reporting methods).


                Table 11: Mortality, Fatal Bleeding, and Intracranial Hemorrhage
                          Rates in the NOAC vs warfarin pivotal AF trials.
                       Mortality on warfarin           Fatal bleeding on warfarin   Intracranial hemorrhage
    ROCKET AF          4.91 (ITT) 2.21 (safety)%/yr   0.4%/yr / 0.8/100 pt-yrs      0.74%/yr (safety)
    RE-LY              4.13 %/yr                      1.80%/yr (life-threatening)   0.74%/yr
    ARISTOTLE          3.94 %/yr                      1.13 %/yr (severe)            0.80 %/yr
                                                      55/172 fatal (0.36%/yr)
    ENGAGE AF          3.17%/yr                       0.38%/yr                      0.85%/yr




          Furthermore, if the results in ROCKET AF were flawed, due to the POC INRs,

          then it would be unlikely that ROCKET AF bleeding rates would be similar to

          the results in other Xarelto studies, such as XANTUS, PMSS, etc. However,

          the ROCKET AF results are quite similar to the bleeding rates in these other

          databases. Therefore, using a variety of sources of assessment, in addition

          to the three sensitivity analyses that were performed post hoc to assess the

          POC vs lab INR issue, the POC INRs did not appear to affect the ROCKET AF


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          interpretation to any significant degree and thus should not affect decisions

          made in clinical practice when a decision to treat a patient with Xarelto is

          made.



          Fifth, the ROCKET AF investigators performed a sub-study to assess the

          relative effects of Xarelto vs warfarin based outcomes using TTR obtained in

          individual trial centers (cTTR).23 The investigators verified that the treatment

          effect of Xarelto versus warfarin on the primary endpoint was consistent

          across a wide range of cTTRs (as noted above). If TTR in ROCKET AF were a

          significant factor with respect to the non-inferiority of Xarelto vs warfarin for

          SSE, then one would not expect the consistency observed across the cTTR

          quartiles -- Xarelto always being numerically lower in events than warfarin

          (listed as events per 100 pt-yrs): 1.77 vs 2.53, 1.94 vs 2.18, 1.90 vs 2.14, 1.33

          vs 1.80 for the lowest to the highest cTTR quartile.



          Time in therapeutic range (TTR) limitations:

          Finally, I want to return to the issue of TTR determinations for a moment. I

          believe that they do not accurately reflect “real-life” circumstances, and their

          serious limitations in application to interpretation of trial results, drug

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          dosing, and the like need to be recognized. As stated earlier, the Rosendaal

          method assumes the INR to change linearly from the time it is checked until

          the time of the next check and total day counts use these integrated

          numbers. If it is low (or high), and the time between checks is not short

          (days), this will falsely lower the TTR as calculated. In “real-life”, when an

          INR is measured and is found to be out of range, a response is made as soon

          as the physician learns about it – such as altering the warfarin dose up or

          down as needed. Thus, within a few days, were the INR to be measured

          again, it could not be the same as the prior one. If this fact is considered, the

          true relationship between the last INR and the next would not be linear if the

          inter-check interval was long (weeks) although the Rosendaal method

          assumes it is. See Figure 8 for a schematic demonstration.




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          Figure 8: Schematic of time outside the therapeutic range following a

          warfarin dose adjustment:




          Accordingly, the TTRs discussed above and the assumed responses to them

          – especially when times between INRs vary within the same trial and

          between different trials – must be taken with a “large grain of salt.” If, for

          example, an INR were 1.7, and the warfarin dose were changed by the

          physician the day he/she learned of this value, but the INR was not checked

          again for three weeks, then the real value of the INR would be different

          within a few days but by the Rosendaal calculation, it would be treated as

          out of range for 21 days.

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          Moreover, I know from my own clinical trial experience now spanning five

          decades, that in “real-life”, patients in trials are likely to be cared for not only

          by the physicians in the trial but by other doctors as well – such as family

          physicians and other primary care doctors and medical assistants. Trial

          physicians may not know (or will usually not know until the patient’s next

          visit) if the alternate care-giver made any change in concomitant medications

          and/or diet, and/or checked the INR on his/her own and altered a warfarin

          dose accordingly. This again, would affect the true INR between visits that

          would be missed by the Rosendaal approach to TTR calculation – and would

          make the calculated TTR falsely low.           To me, this issue reduces the

          importance of assumptions made about TTRs and trial outcomes and makes

          the similarities of results noted – especially bleeding – across the Xarelto

          trials even more striking and important!



          Conclusions:

          The INRatio device had no clinically meaningful impact on the results of

          ROCKET AF, and the findings in ROCKET AF as reported are definitely

          applicable to clinical practice. All the analyses above are consistent with this

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          conclusion and the post marketing data above corroborate this impression.

          This interpretation is also consistent with findings of Regulatory Bodies

          (EMA/FDA). The EMA reviewed the data, and the conclusion of this review

          complemented the results of ROCKET. All analyses were also submitted to

          the FDA. Knowing this information, the FDA has not recalled or changed the

          prescribing instructions of Xarelto. Moreover, at the advisory committee

          hearing to consider approval of Xarelto by the FDA,23 the issues concerning

          the method of measuring the PT and the calculations used to determine the

          mean TTR were aired in detail, as were many subgroup analyses regarding

          the efficacy and safety data of ROCKET AF. None were not felt to adversely

          affect the results of the trial or the determination to approve the drug. In

          addition, in my clinical experience, Xarelto is safe and efficacious for

          treatment of AF. In fact, I now prescribe NOACs, including Xarelto, in

          preference to warfarin (except in pts with mechanical heart valves or

          rheumatic mitral stenosis) and have done so since 2010. When Xarelto was

          released, it was the only approved NOAC other than Pradaxa. For those

          patients who could not tolerate Pradaxa (about 20%, due to its GI adverse

          effects), or for those who are unable or unwilling to take medications more

          than once a day, Xarelto was the only feasible NOAC choice; and, with

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          greater convenience, fewer drug interactions, and lesser fatal bleeding or

          intracranial hemorrhage yet nonionferiority to warfarin with respect to

          stroke and systemic embolism and overall major bleeding, Xarelto offered

          patients substantial benefit regarding a therapeutic anticoagulant option

          with greater likelihood of regimen adherence.63 Although patients on a

          NOAC, including Xarelto, may bleed, they do so at less risk of fatal or vital

          organ bleeding than they would on warfarin, and at less risk of fatality or

          severe chronic disability than would occur from a stroke if an at-risk AF pt

          avoided anticoagulation out of a fear of bleeding, which has been a

          consequence I and others have seen and written about in this era of

          misleading attorney advertising.64,65 Conversely, if the 3.6%/yr major

          bleeding risk on Xarelto as was seen in ROCKET AF is felt to result in an

          unacceptable number of hospitalizations when applied to millions of

          potential users, as has been raised by some attorneys,58 one must remember

          the bleeding rate on warfarin in ROCKET AF, 3.5%/yr, was the same as on

          Xarelto, and would have the same implications – but that fatal bleeds and

          intracranial bleeds would be greater on warfarin than on Xarelto. When you

          are the patient this difference would be enormously important if they were

          informed about it. Similarly, SSE resulting from a patient’s refusal to take an

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          anticoagulant in response to the TV adds they have heard would have an

          even greater adverse impact on hospitalization utilization, costs, and quality

          of life.63 Thus, again, the bleeding concerns have not been presented by such

          attorneys to the public in a fair and balanced fashion. And, as I noted earlier:

          Importantly, bleeding while on an anticoagulant should not be taken as an

          indication that anticoagulation was not warranted or that the physician’s

          decision to prescribe it was wrong. Equally important to recognize,

          anticoagulants do not cause a bleeding source. Rather, if there is a bleeding

          source and a pt is taking an anticoagulant, bleeding is likely to be more severe

          or prolonged than in the absence of the anticoagulant. But, as stroke

          prevention is paramount, the use of an anticoagulant in an at-risk subject is

          the standard of care, even considering the risk that an anticoagulated pt may

          suffer a bleeding event. Given this background, the advent of NOACs,

          including Xarelto, has been a great medical advance, since they are non-

          inferior or superior to the vitamin K antagonists in preventing SSE and have,

          at the same time, a lower risk of intracranial or fatal hemorrhage, fewer drug

          and dietary interactions, and greater pt convenience – all of which should

          result in increased pt compliance and improved clinical outcomes in the

          broad context of clinical practice. These issues and conclusions have been

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          appreciated by the medical experts in cardiology, vascular disease,

          hematology, and neurology and have led to the now preference of NOACs

          over warfarin in the latest 2016 AF guidelines. Finally, in my opinion, all of

          the above is correct to a reasonable degree of medical certainty, but I reserve

          the right to review and comment upon new information, testimony of

          plaintiffs’ experts, and evidence presented at trial.




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             anticoagulants with warfarin in patients with atrial fibrillation: a meta-
             analysis of randomised trials. Lancet 2014; 383:955-62.
             doi:10.1016/S0140-6736(13)62343-0.

             48bb. Tamayo S, et al. Evaluation of the Incidence of Major Bleeding
             in a Heterogeneous Population of 51,842 Rivaroxaban Users With
             Nonvalvular Atrial Fibrillation. American Heart Assoc. Ann Sci Sessions
             2016; abstract M2185.

             48cc. Sjogren V, et al. Non-Vitamin K Oral Anticoagulants Are Non-
             Inferior for Stroke Prevention but Cause Fewer Major Bleedings Than
             Well-Managed Warfarin With Time in Therapeutic Range 70% or Higher
             in Sweden. American Heart Assoc. Ann Sci Sessions 2016; abstract 651.

             48dd. Lin I, et al. Real World Bleeding Risks in Non-valvular Atrial
             Fibrillation Patients With Heart Failure: Contemporary EHR Results
             Among Prescribed Apixaban, Dabigatran, Rivaroxaban and Warfarin.
             American Heart Assoc. Ann Sci Sessions 2016; abstract 649.

             48ee. Amin A, et al. Real-World Comparisons of Major Bleeding Risk
             for Commercially Insured Non-Valvular Atrial Fibrillation Patients



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             Initiating Apixaban, Dabigatran, Rivaroxaban, or Warfarin. American
             Heart Assoc. Ann Sci Sessions 2016; abstract M2183.

             48ff.    Peacock WF, et al. Major bleeding in a post-marketing
             assessment of 39,052 non-valvular atrial fibrillation patients on
             rivaroxaban. Eur Heart J 2015; 36 (suppl), abstract P4066.

             49. FDA (20 January 2015). Alere INRatio2 PT/INR Professional Test
             Strips: Recall – Higher INR when Performed by Central Laboratory.
             Retrieved from
             www.fda.gov/Safety/MedWatch/SafetyInformation/SafetyAlertsforHum
             anMedicalProducts/ucm396324.htm

             50. September 23, 2015 letter from Bayer Healthcare to the EMA
             (XARELTO_BPAG_25625338)

             51.   February 16, 2016 deposition of Christopher C. Nessel, M.D.

             51a. Letter from Purve Patel, Director, Global Regulatory Affairs to Dr.
             Norman Stockbridge at the FDA, dated 07 March 2016.
             (XARELTO_JANSSEN_23524303)

             52. Urgent Medical Device Correction/Dear Healthcare Professional
             Letter dated Dec. 5, 2014 issued by Alere Inc.
             Retrieved from http://www.fdanews.com/ext/resources/files/01-15/01-
             20-15-AlereRecall.pdf?1421445973

             53. Janssen Research & Development, LLC. Document dated 15 Oct.
             2015 Sensitivity analysis to assess the potential impact of the INRatio
             monitor system recall on the ROCKET AF study.
             (XARELTO_JANSSEN_18700909)

             54. Janssen Research & Development, LLC. Document dated 5 Oct.
             2015 Xarelto (Rivaroxaban) Tablets. (XARELTO_JANSSEN_18700909)

             55.   Patel M, et al. Point-of-care warfarin monitoring in the ROCKET AF

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             trial. N Engl J Med 2016; published online Feb. 3, 2016. DOI:
             10.1056/NEJMc1515842.

             56. Jan 11, 2016 letter from Manesh R. Patel, M.D. to John A. Jarcho,
             M.D., Deputy Editor, New England Journal of Medicine.
             (XARELTO_JANSSEN_18700909)

             57. European Medicines Agency Assessment Report, dated 5 Feb
             2016. Procedure No. EMEA/H/C/000944/LEG-037. Retrieved November
             5, 2016, from
             http://www.ema.europa.eu/docs/en_GB/document_library/EPAR_-
             _Assessment_Report_-_Variation/human/000944/WC500201726.pdf

             58.   April 12, 2016 deposition of Peter M DiBattiste, M.D.

             58a. Assessment report for the post-authorization measure LEG 037.3
             dated 2016-07-15 (XARELTO_BPAG_39519273-
             XARELTO_BPAG_39519283)

             59. Janssen Research & Development LLC. Document dated 13 Nov
             2015: FDA Communication: Analysis comparing the INR values obtained
             from the Hemosense point of cate device to the INR values obtained
             from the central lab in the ROCKET AF study.
             (XARELTO_JANSSEN_18700973)

             60. Janssen Research & Development LLC. Document dated 14 Dec
             2015: FDA Communication: Additional analysis comparing the INR values
             obtained from the Hemosense point of cate device to the INR values
             obtained from the central lab in the ROCKET AF study.
             (XARELTO_JANSSEN_18701018)

             61. Janssen Research & Development Health Authority Communication
             dated 23 Dec 2015: Additional exploratory analyses related to the Alere
             INRatio monitor system recall. (XARELTO_JANSSEN_18701033-
             XARELTO_JANSSEN_18701035)


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             61a. Ansell J, et al. American College of Chest Physicians: Pharmacology
             and management of the vitamin K antagonists: American College of
             Chest Physicians Evidence-Based Clinical Practice Guidelines (8th
             Edition). Chest 2008; 133 (6 Suppl):160S–198S

             62. Janssen Research & Development Health Authority Communication
             dated 21 Jan 2016. (XARELTO_JANSSEN_19388970-
             XARELTO_JANSSEN_19388979)

             63. Yao X, et al. Effect of adherence to oral anticoagulants on risk of
             stroke and major bleeding among patients with atrial fibrillation. J Am
             Heart Assoc 2016; 5:e003074.

             64. Reiffel, JA. Misleading advertising by attorneys concerning NOACs
             is adversely costly to our patients and our society. JAFIB 2016; 8(5). No
             page numbers are listed in this online journal.

             65. Burton P, and Peacock WP. A Medwatch review of reported
             events in patients who discontinued rivaroxaban (Xarelto) therapy in
             response to legal advertising. Heart Rhythm Case Reports 2016; 2:248-
             49.




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                                                     APPENDIX A


         JAMES A. REIFFEL, M.D.                                                        CURRICULUM VITAE



         VITAL STATISTICS

           Name: James A. Reiffel

           Address:

                   Business phone: (914) 472-2233     Business fax: (914) 725-5961

         E-mail:

            Medicare provider #
            UPIN #
            NPI#
            License: NYS (               Florida (
            Florida Medical Assoc ID#

            Birthdate:                       New York, N.Y.
            Citizenship: USA

            Marital Status:


         EDUCATION

            Duke University, Durham, N.C.
                     B.A. 1965
                     Honors: Phi Beta Kappa, Order of Hippocrates

            College of Physicians & Surgeons, Columbia University, N.Y.C., N.Y.
                       M.D., 1969
                       Honors: Alpha Omega Alpha


         TRAINING

            Medical Internship, The Presbyterian Hospital, N.Y., N.Y.,7/1/69-6/30/70

            Internal Medicine Residency, The Presbyterian Hospital, N.Y.,N.Y.,7/1/70-6/30/72

            Fellowship in Cardiology, The Presbyterian Hospital, N.Y.,N.Y.
                     7/1/72-6/30/74




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         CERTIFICATION

           National Board of Medical Examiners, 1970, #104089

           American Board of Internal Medicine, 1972, #37502

           Subspecialty Board of Cardiovascular Disease, 1975

           Subspecialty Board of Clinical Cardiac Electrophysiology, 1992

           Examination of Special Competency in Pacing (NASPExAM) 1986
                       International Board of Heart Rhythm Examiners (IBHRE) Testamur

           Completion, CITI Collaborative Institutional Training Initiative: Human Research Curriculum
           3/10/11


         PROFESSIONAL SOCIETIES

           American College of Physicians - Fellow

           New York Heart Association

           New York Heart Association Council on Professional Education (1989-1991)

           American Heart Association Council on Clinical Cardiology - Fellow

           Medical Society of the County of New York

           Medical Society of the State of New York

           American College of Cardiology - Fellow

           New York Cardiological Society - Fellow

           American Federation for Clinical Research

           Cardiac Electrophysiolgic Society

           European Society of Cardiology (#734177 112656)

           Heart Rhythm Society (previously North American Society of Pacing & Electrophysiology) –
           Fellow, and CCDS (Certified Cardiac Device Specialist)

          Eastern Cardiac Arrhythmia and Clinical Electrophysiologic Society – Coordinating Committee

           International Platform Association

           American Sports Development Institute - Board of Advisors

           Scarsdale Union Free School District Health Advisory Council

           Vascular Biology Working Group – University of Florida



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         ACADEMIC APPOINTMENTS

         Associate in Clinical Medicine, College of P&S, Columbia University, New York, NY.,7/1/74-6/30/76

         Assistant Professor of Clinical Medicine, College of P&S, Columbia University, New York ,NY,
         7/1/76- 3/31/80

         Associate Professor of Clinical Medicine, College of P&S, Columbia University, New York,
         NY,4/1/80-6/30/88

         Professor of Clinical Medicine, College of P&S, Columbia University, New York, NY, 7/1/88-6/30/13

         Professor of Medicine (at CUMC), College of P&S, Columbia University, New York, NY, 7/1/13 –
         6/30/15

         Professor (Emeritus) of Medicine and Special Lecturer, Columbia University, New York, NY 7/1/15 -
         present


         HOSPITAL APPOINTMENTS

         Assistant Physician, Presbyterian Hospital, New York, N.Y.,7/1/74-6/30/76

         Assistant Attending Physician, Presbyterian Hospital, New York, N.Y.,7/1/76-6/30/80

         Associate Attending Physician, Presbyterian Hospital, New York, N.Y.,4/1/80-6/30/88

         Attending Physician, Presbyterian Hospital, New York, N.Y.,7/1/88-6/30/15

         Associate Director Cardiac Intensive Care Unit, Presbyterian Hospital, New York, N.Y.,7/1/74-
         6/30/86

         Associate Director Clinical Electrophysiology and Pacemaker Laboratory, Presbyterian Hospital,
         New York, N.Y., 1979-1993

         Director, Clinical Electrophysiology Programs, Columbia Presbyterian Medical Center campus, New
         York Presbyterian Hospital, 1/1/94-6/30/99

         Director, Electrocardiography Laboratory Columbia Presbyterian Medical Center campus, New York
         Presbyterian Hospital, 7/1/99-7/1/11

         Co-Director, Electrocardiography Laboratory Columbia Presbyterian Medical Center campus, New
         York Presbyterian Hospital, 7/1/11- 6/30/15

         Emeritus Attending Physician, New York Presbyterian Hospital, 7/1/15-present


         MILITARY SERVICE

            U.S. Army Reserves 1970-December 1976
                  Rank: Major
                        Title: Chief of Medicine
                               307th Gen. Hosp. USAR
                               1972-1976

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         OTHER PROFESSIONAL ACTIVITIES AND HONORS

      1) PEER REVIEWER FOR SUBMITTED MANUSCRIPTS TO:

         Advances in Therapy, 2013

         Am J Cardiol 1980, 1981, 1982, 1983, 1984,1985, 1986, 1988, 1989, 1990, 1991, 1992, 1993,
         1995, 1996, 1999, 2000, 2003, 2007, 2009, 2010, 2011, 2012, 2013, 2014, 2015, 2016

         Am J Cardiovasc Drugs 2013

         American Heart J 1981, 1982, 1983, 1984, 1985, 1986, 1988, 1989, 1990, 1991, 1992, 1994,
              1996, 1999, 2000, 2002, 2004, 2009, 2010, 2011, 2012, 2013, 2016

         Annals of Int Med 1976, 1978,1979,1980,1982,1983,1990,1993, 2010

         Annals of the New York Academy of Sciences 2014

         Archives of Int Med 1992, 1993, 1995, 1997, 1998, 1999

         Chest 1978, 1986

         Circulation 1976, 1978, 1979, 1980, 1981, 1982, 1983, 1985, 1986, 1987, 1988, 1989, 1990, 1991,
         1992, 1993, 1994, 1995, 1996, 1999, 2000, 2001, 2003, 2011, 2014, 2015

         Circulation Arrhythmia & Electrophysiology 2013, 2014

         Clinical Therapeutics 2012

         Drug Safety 2002

         European Heart Journal 1997, 2006, 2007, 2008, 2013, 2014, 2016

         Europace 2015, 2016

         European Journal of Clinical Pharmacology 2014

         Hospital Physician 2008

         International Journal of Cardiology 1983, 1992

         J. Am Med Assoc 2011, 2012, 2013, 2014

         J. Afib 2008, 2009, 2010, 2011, 2013, 2014

         J Am Coll Cardiol 1983, 1984, 1985,1986,1987,1988,1989,1995,1996,
         1997, 1998, 1999, 2000, 2002, 2003, 2005, 2006, 2010, 2013, 2015.

         J Cardiovasc Electrophysiol 1991

         J Cardiovasc Pharmacology 1979, 2005

         J Cardiovasc Pharmacology & Therapeutics 1999, 2001



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         J Clinical Outcomes Management 2012

         J Critical Illness 1999

         J Electrocardiology 1983, 1992, 1994, 2001, 2008, 2011

         J Electrophysiology 1987, 1988, 1989

         J Interventional Cardiac Electrophysiology 2009, 2010, 2012, 2013, 2104, 2015, 2016

         Nature Reviews Cardiology 2009

         New England J. Med 2010

         New York Academy of Sciences 2014

         PACE 1986, 1997, 1988, 1989, 1990, 1993, 1994, 1996, 2001, 2011, 2013, 2015, 2016

         Patient Care 1989, 1990, 1996

         Pharmacist’s Letter 2009

         Physician’s Letter 2009

         Texas Heart Journal 2014


         2) ABSTRACT GRADER

         Am Coll Cardiol 1985, 1986, 2014

         Am Heart Assoc 1985, 1986, 1987, 1988, 1992, 1993, 1996, 2004, 2006, 2007, 2008, 2009, 2010,
         2011, 2012, 2013, 2014

         NASPE 1987, 1991, 1992, 1993, 1997

         Iternational Academy of Cardiology – World Congress on Heart Disease 2011, 2013, 2014, 2015

   3)    EDITORIAL BOARD

         Advances in Arrhythmias

         J Innovations in Cardiac Rhythm Management

         J Electrophysiology

         J Atrial Fibrillation

         Rhythm: Contemporary Perspectives in Arrhythmia

         Cardiac Arrhythmias: Index and Reviews

         Progress in Cardiovascular Diseases (Guest Editor, two part special edition)



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         Cardiology Special Edition

         Cardiovascular Risk Reduction Strategies

         The Medical Roundtable – Cardiovascular Edition

         4) YOUNG INVESTIGATORS AWARD COMMITTEE - NASPE: 1992-1994

         5) NASPE Board Review Course in Cardiac Electrophysiology. Associate Course Director 1992,
         1994.

         6) International Review Committee, World Symposium on Cardiac Pacing and
         Electrophysiology, October 22-26, 1995.

         7) Scientific Executive Committ of the International Academy of Cardiology, World Congress on
         Heart Disease 2006, 2007, 2011, 2013, 2014.

         8) Scientific Executive Committee World Congress of Cardiology 2007

         9) Principal Investigator, Participating Investigator, Steering Committee member, and/or Data
         Safety Monitoring Board member in:

         a) pre-release studies with:
         tocainide, mexiletine, encainide, flecainide, propafenone,
         amiodarone, d,l-sotalol, d-sotalol, sematilide, verapamil, tedisamil,
         diltiazem, ethmozine, pirmenol, bidisomide, CVT510 (techadenoson),
         adenosine, ibutilide, NE-10064, antitachycardia pacemakers, AICD, rate-adaptive pacemakers,
         dronedarone, RSD1235 (vernakalant), piboserod, azimilide, dabigatran, odiparcil (steering
         committee), mesopram, rivaroxaban.

         b) post-release multicenter studies with:
         isradipine (DATA study), disopyramide, quinidine, sotalol,
         procainamide, mexiletine, imipramine, encainide, flecainide,
         propafenone, amiodarone, Omacor/Lovaza.

         c) CAPS, CAST, MDPIT, MPIP, ESVEM, AVID, AFFIRM, MUSTT, AFFECTS (Chairman of the
         Steering Committee), OM-8 (Omacor AF Trial - co-PI, and Scientific Advisory Committee),
         RECORD-AF, ORBIT-AF (Steering Committee), DETECT-AF (Steering Committee), HARMONY
         (Steering Committee), CABANA ( Steering/Executive Committee)

         10) INVITED PARTICIPANT IN:

         American Heart Association Annual Scientific Sessions (Co-Chairman multiple Abstract
         Presentations sessions; Invited Lecturer multiple years)

         American College of Cardiology Annual Scientific Sessions (Co-Chairman multiple Abstract
         Presentations sessions: Invited Lecturer multiple years)

         American College of Chest Physicians Annual Scientific (Invited Lecturer, October 31, 1995)

         Canadian Cardiovascular Society Annual Scientific Sessions (Invited Lecturer, October 29, 1993)

         NASPE/Heart Rhythm Society Annual Scientific Sessions (Co-Chairman multiple Abstract
         Presentations sessions, invited lecturer multiple years)


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         PriMed and PharMed regional meetings: facuty at multiple meetings from 2000 to present.

         AFCR (Co-Chairman, Abstract Presentations session)

         VII World Congress of Cardiac Pacing, Vienna, Austria, 1982 (Invited Lecturer)

         European Cardiac Arrhythmia Society (invited lecturer 2006)

         FDA-associated Symposium on Amiodarone: Basic concepts and clinical applications: Bethesda,
         Maryland, May 9-10, 1983. Am Heart J 106:788-969, 1983

         International Symposium on Progress in Clinical Pacing, Rome, Italy, 1984 (invited lecturer)

         TelePace 88: Advances in Pacing and Arrhythmia Conversion. @ Hospital Satellite Network,
         11/13/88

         Author, Teaching Poster entitled: Clinical Electrophysiologic Studies, Distributed nationally to
         cardiologists and catheterization laboratories by Pfizer Laboratories, 1988

         A Symposium: controlling cardiac arrhythmias with sotalol a broad-spectrum antiarrhythmia with
         beta-blocking effects and class III activity, (published in: Am J Cardiol 1990 ;65:88A).

         Critical decisions in arrhythmia management, a closed symposium Ft. Myers, Florida, January 1990.
         (Published in: PACE 1990;13:1477-1555)

         External CME Advisory Board Telectronics Cordis Pacing Systems 1987-1988

         Annual National Symposium on Pacing and Arrhythmia Control (Invited Lecturer, 1985-1993)

         Wyeth Ayerst EP Fellowship Program - Invited Lecturer 1991, 1992, and Chairman, 1991

         Faculty member, NASPE Board Review Course in Cardiac Electrophysiology, Sept 20-23, 1992,
         Oct. 1-5, 1994

         Faculty member, NASPE and American College of Cardiology combined Board Review Course in
         Cardiac Electrophysiology, Oct 12-16, 1996

        Faculty member, Harvard Univ. board review course in electrophysiology, Sept. 1994

         Faculty member, Harvard Univ./Columbia Univ. board review course in medicine, Aug 2000-2003,
         2006-2008

        Cardiostim, 1994 (invited lecturer)

         Faculty member: national telecast: New directions in the treatment of ventricular arrhythmias. An
         Educational Video conference. Miami, 3/2/93

         Faculty member: New directions in the treatment of ventricular arrhythmias: a closed symposium.
         Laguna Beach, CA; Aug 27-29, 1993

        State of the Art Conference on Atrial Arrhythmias American Heart Association, Dallas, TX October 4-
        5, 1993

         Invited author, American Board of Internal Medicine, Electrophysiology Self Assessment Program


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         (EPSAP), chapter on Pharmacologic Therapy of Arrhythmias, 1996, 2000

         Mortality Review Committee -- Telectronics Pacemaker=s Guardian ICD development program

         Data Safety Monitoring Board -- Berlex Laboratories= Sotalol vs Placebo in ICD patients trial; Berlex
         Laboratories’ Mesopram Trials.

         Invited faculty, closed symposium on atrial fibrillation. American Academy of Family Practice, San
         Francisco, 1998

         Guidant Corp Fellowship Program - invited lecturer 2002.

         Guest Editor: The American Journal of Cardiology: A symposium: atrial fibrillation: mechanisms and
         management. Am J Cardiol 10/16/98, vol 82(8A)

         ABIM Reviewer, Examination in Clinical Cardiac Electrophysiology, 1999

         American Heart Association/American College Cardiology/European Society Cardiology Peer
         Reviewer of: Guidelines for the management of patients with atrial fibrillation, 2001

         Advisory Board: Atrial Fibrillation Foundation Education and Research in Atrial Fibrillation;
         www.affacts.org.

         Advisory Board: HeartHealthWomen.org, a gender-based website for the diagnosis and treatment of
         heart disease in women supported by the Cardiac Research Foundation and the Dept.of Health and
         Human Services.

         Invited faculty, 13th World Congress in Cardiac Pacing and Electrophysiology, Rome Italy, Dec 2007

         Invited Lecturer - over 1000 presentations - multiple academic and non-academic organizations
         (1974-present). Major academic institutions and organizations include: Harvard Univ., Boston
         Univ., University of Mass., Hahnemann Univ., Loyola Univ. of Chicago, Wayne State Univ., Univ. of
         Pennsylvania, Penn State College of Medicine, The Medical Center of Delaware, Univ. of Virginia,
         Duke Univ., Univ. of Miami, Univ. of Vermont, Univ. of Alabama, Baylor Univ., Univ. of Texas, Univ.
         of Oklahoma, Univ. of Michigan, Univ. of Indiana, Mt. Sinai School of Medicine, Albert Einstein
         College of Medicine, New York Medical College, New York Univ., Cornell Univ., Univ. of British
         Columbia, Univ, of Iowa. State Univ. of New York (Downstate Stony Brook), Rutgers Univ., Robert
         Woods Johnson Medical School, Albany Medical College, Jefferson Univ., Univ. of Florida, Univ. of
         Colorado, Case Western Reserve, Vanderbilt Univ. Univ. of California Los Angeles, Univ. of
         California San Francisco, Univ. of Southern California, Univ. of California, San Diego, Georgetown
         Univ., George Washington Univ., Yale Univ., Dartmouth School of Medicine, Cleveland Clinic,
         Mid-American Cardiology, Mayo Clinic, Philadelphia area EP Society, San Francisco EP Society,
         Houston EP Society, Univ. of Rochester, Western NY EP Society, Dallas EP Society, Washington
         DC EP Society, Philadelphia EP Society, San Diego EP Society, Bay State Medical Center, Cedars
         Sinai Medical Center, Lankanau Medical Center, St Louis Univ., Univ. of Kentucky, Univ. of
         Louisville, Univ. of Tennessee, Univ of Texas, Baylor, Cleveland Univ.

         Elected for citation in: The Best Doctors in America (Woodward/ White, Inc.) 1994 & 2002; in: The
         Best Doctors in New York (New York Magazine, May 1996); in: the Castle, Connolly Guide: The
         Best Doctors -- New York Metro Area -- 1996,1997,and 1998, 2003,2004,2005; 2006; 2007, 2009;
         in: the Castle, Connolly Guide: America’s Top Doctors 2010; in several iterations of the Best
         Doctors in America by the Consumers research Council (2000-present); in several versions of the
         Who’s Who directories; Best Doctors for 2001-2002, 2003-2004 Best Doctors, Inc.; Top Doctor
         listing in multiple years (2000 to 2015) in the New York Times annual listing. The Leading


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         Physicians of the World (2016) – the International Association of Cardiologists.

         Participant in the American Venous Forum 2004, Univ. of South Florida 2005
         Member, The New York County Health Services Review Organization 1976

         11. Multiple appearances as invited medical expert on ABC, CBS, NBC, and FOX news (New York
         City), on “Straight Talk” (channel 9 New York City, once), on the “Today Show” (4 times), and on the
         Early Show (CBS). (1980-2000) Multiple radio interviews on cardiology/cardiac electrophysiology
         topics in over 30 “markets” in the U.S.

         12. Multiple appearances as featured speaker on broadcast and webcast educational medical
         programs for the pharmaceutical industry, and for WebMD/Medscape.

         13). Scientific Executive Committee: The Journal of Heart Failure, 2002

         14. Cited in: Encyclopedia Rythmologica, History of the Disorders of Cardiac Rhythm, Third Edition,
         B. Luderitz, M.D. Editor Futura Publishing Co Inc, Armonk, NY; 2002, pg 259

         15. Teacher of the Year, Cardiology, Columbia University Medical Center 2003-2004, 2009-2010.

         15a.Nominated as International Health Professional of the Year, 2005, byt the International
         Biographic Center, Cambridge, England.

         16. Heart Rhythm Society, Education Committee 2003-2007.

         17. Invited participant, DCRI, FDA, NIH, academic and industry think tank: Antithrombotic Drug
         Development, Washington DC, July 25-27, 2007

         18. Listed in: New York Times “New York Super Doctors”. April 27, 2008; April 2009; April 25, 2010;
                 May 22, 2011; May 20, 2012; May 19, 2013; May 18, 2014;

         19. Invited faculty: HRS, ACC, FDA, NIH, DCRI Atrial Fibrillation Think Tank, FDA Campus, SIlver
         Springs, MD, 4/27-28/09

         20. Executive Committee, CABANA Trial (NIH), Innovative Drug Therapy committee, CABANA

         21. AF Patient Materials Working Group, Heart Rhythm Society 2009-2010

         22. Member, Independent Data Safety Monitoring Committee, multiple trials with the CCR1
         antagonist ZK-811752 (mesopram) for Berlex and Schering AG, 2002-2009.

         23. Elected to The Leading Physicians of the World by the International Assoc. of Cardiologists,
         Sept. 2009

         24. Member of the Vascular Biology Working Group 2000-present and invited faculty for several of
         their programs in various U.S. sites on anticoagulation in atrial fibrillation and on the management of
         atrial fibrillation between 2004 and 2010; adjunct faculty at 2013 global meeting.

         25. Recipient of Patients’ Choice award 2008, 2009, 2010, 2011, 2012 www.vitals.com and
         recipient of listing in Marquis Who’s Who in multiple editions, including American Science, and
         American Business leaders in multiple years.

         26. Listed as Superb physician by AVVO, inc (score 9.9 out of 10) 2012



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         27. Named as Ewig Clinical Scholar 2010 (Columbia University College of P&S).

         28. Completed the National Faculty Education Initiative course in Certified CME and Promotional
         Activities, May 2010.

         29. Scarsdale High School Distinguished Alumni Award 2010.

         30. President: Metropolis CC (White Plains, NY) Dec 2010 – Dec 2012
                        (VP and Green Chairman 2001-2005; Board of Governors 1994-2000, 2004-2010)

         31. Participant in AF-ARC program (initial meeting in Boston, Jan 12, 2011) – an academic, FDA,
         NIH, industry consortium.

         32. Presentation given “Best of ASH” recognition at the 2012 Annual Scientific Sessions of the
         American Society of Hypertension.

         33. Nominated to serve on the 2012 AHA writing group for “Treatment of Hypertension in the
         Prevention and Management of Ischemic Heart Disease (declined for reasons of time).

         34. Listed in “The Leading Physicians of The World” by the International Association of
         Cardiologists, 2013.

         35. Invited presenter, 4th Joint Consensus Conference of AFNET and EHRA: Connecting
         Pathophysiological and Clinical Data for Personalized Atrial Fibrillation Management; Nice, France,
         Jan 24-26, 2013; and, invited member of the writing committee for the consensus document.

         36. Invited member of the American College of Cardiology CardioSurve research panel 2013-2015.

         37. Presentation on rivaroxaban, on The Doctors Channel, 2014.

         38. National Stroke Awareness Month “radio media tour” May 2013, May 2014

         39. Member, Cardiac Safety Research Consortium (CRSC); and, Planning/Steering Committee
         Cardiac Safety Research Consortium: Anticoagulation Reversal Agents 2014-15

         40. International Academy of Cardiology: Scientific Advisory Board

         41. Invited peer-reviewer for the AHRQ report on Catheter Ablation for Treatment of Atrial
         Fibrillation, commissioned by the Dept. of HHS.(Nov 2014).

         42. Abstract reviewer for the 20th World Congress on Heart Disease, 2015 and for the American
         Heart Association Annual Scientific Sessions 2015, and 2016.

         43. Certified and registered by the Alliance for Continuing Education in the Health Professions and
         the Society for Academic Medical Education as having completed their educational activity titled
         Faculty Roles and Responsibilities in Certified Continuing Medical Education and FDA Regulated
         Promotional Activities – There is a Difference as part of the CME National Education Program.
         10/19/2015.

         44. Invited reviewer for the Ameraican Academy of Family Practice for their FP Essentials
         monograph – Cardiology Update. 2016.

         45. Interviewed with Jerry West by 30 TV and radio shows for Atrial Fibrillation Awareness Month,
         9/21/16


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         Publications: Author or co-author of approximately 350 scientific papers and book chapters and over
         200 abstracts (see Bibliography Section), plus 3 books (fiction).


         DEPARTMENTAL AND UNIVERSITY COMMITTEES

         Intern and Resident Selection Committee -- Dept. of Medicine 1980-1995

         Executive Committee -- Dept. of Medicine

         Executive Committee -- Cardiology Division

         Fellowship Training Committee -- Div. of Cardiol, Dept. of Medicine 1978-1994

         Committee on Attending’s Responsibility -- Dept. of Medicine

         Dean’s Liaison Committee -- Society of Practitioners 1996-present

         Hospital President’s Liaison Committee -- Society of Practitioners 2000-present

         Dean’s Special Advisory Committee on Clinical Practice

         Executive Committee -- Society of Practitioners 1996-present
                 -President 2003-2005.


         Cardiac Services Committee -- Dept. of Medicine, Presbyterian
                 Hospital and Columbia Univ. College of P&S

         The GCRC Advisory Committee 1993-1996

         Standing Committee for Appointments At Affiliated Hospitals@ --
                Columbia Univ. (1992-1995)

         CPPN Board of Directors 1996-2002

         CPPN Executive Committee 1997-2002

         Faculty Practice organization – Board of Directors 2002-2004

         FPO Executive Committee 2004-2009

         Columbia Univ-Cornell Univ. Alliance Coordinating Council 1996-1997

         Columbia Cornell Care, LLC Policy Board 1997-2000

         Columbia Univ. Task Force on Benefits 1998-1999

         Dean’s Task Force on Clinical Practice Plan Revisions 2003-2005

         Columbia University Conflict of Interest Committee (Research): 2007

         FPO Disability Insurance Committee 2008

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         CURRENT and/or Recent TEACHING RESPONSIBILITIES

         Applied Pathophysiology, Columbia University College of Physicians and Surgeons --Cardiology
         Section -- Lecturer and Preceptor

         Internal Medicine Board Review Course, Columbia University -- Lecturer

         Teaching Attending, Cardiac Intensive Care Unit -- Columbia Presbyterian Medical Center, Dept. of
         Medicine and/or Cardiology Service

         Teaching Attending, Cardiology (Arrhythmia) Consult Service, Heart Center, and-or Stepdown Unit,
         Columbia-Presbyterian Medical Center, Dept. of Medicine

         Preceptor of fourth year medical student preceptees -- Columbia Univ College of Physicians &
         Surgeons

         Teaching Attending, Clinical Electrophysiology and Pacemaker Laboratory, Columbia-Presbyterian
         Medical Center

         Co-Director, Electrophysiology Conference (weekly), Columbia-Presbyterian Medical Center,
         Department of Medicine 1980-1999

         Co-Director, Electrocardiology Conference (weekly), Columbia- Presbyterian Medical Center,
         Department of Medicine 1980-1990.

         Director, Electrocardiology Conference (weekly), Columbia- Presbyterian Medical Center,
         Department of Medicine 1990-present.

         Scientific Advisory Committee, Clinical Research Resource, Irving Institute for Clinical and
         Translational Research, 2011- 2012

         Awards Committee, International Academy of Cardiology, 16th World Congress on Heart
                Heart Disease, Annual Scientific Sessions 2011, Toronto, Canada, July 23-26


         Additional Positions and Appointments

                 Medical Director, Cardioquest International, Inc. 1994-1996

                 Medical Director, Electrocardiographic Core Laboratory, Cardiac Research Foundation
                         2005-2009

         Current and/or most recent Research Activities:
                RELY trial: dabigatran vs warfarin in AF. A multicenter trial. (local PI).
                ATHENA trial: dronedarone in high risk AF. A multicenter trial. (local PI).
                AFFECTS Registry: clinical practice patterns and outcome in AF. A multicenter trial.
                (Study PI and chair of the steering committee).
                OM-8 AF trial: Omacor vs placebo in AF. A multicenter trial. (National co-PI, local PI).
                Silent AF in subjects at potential risk: a single center NIH supported trial. (PI).
                CABANA: Antiarrhythmics vs ablation for AF. (Executive Committee, local co-PI)
                Potential Holter markers for Long QT carriers: a single center trial. (PI).

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                Improved QT correction formula approach in AF: a single center trial. (PI).
                ORBIT Registry: Atrial Fibrillation registry assessing multiple aspects of AF outcomes,
                treatment, etc. (Steering Committee), ORBIT-AF 2 Registry (ditto, for new onset AF)
                HARMONY: A multicenter trial of ranolazine and dronedarone in combination vs alone vs
                placebo on AFib burden. (Steering committee, co-PI)
                REVEAL AF: A multicenter observational trial of AF detection in at-risk pts who have not
                had AF. (PI)


                                                 BIBLIOGRAPHY
         Scientific Papers
                               (* = Senior Author, ** = Multicenter Study)

            1. Reiffel, JA, Bigger JT, Jr, and Konstam, MA: The relationship between sinoatrial conduction
               time and sinus cycle length during spontaneous sinus arrhythmia in adults. Circulation
               50:924-934,1974.

            2. Galen R, Reiffel JA, and Gambino SR: Diagnosis of acute myocardial infarction: relative
               efficiency of serum and isoenzyme measurements. JAMA 232:145-147,1975.

            3. Reiffel JA, Bigger JT, Jr, Cramer M, and Reid DS: Ability of Holter electrocardiographic
               recording and atrial stimulation to detect sinus nodal dysfunction in symptomatic and
               asymptomatic patients with bradycardia. Am J Cardiol 40:189-194, 1977.

            4. Reiffel JA and Bigger JT, Jr: Atropine and sinus nodal recovery time: reply. Am J Cardiol
               42:524,1978.

            5. Reiffel JA, Gambino SR, McCarthy DM, and Leahey EB, Jr: The effect of direct current
               cardioversion upon total creatinine kinase, lactic dehydrongenase, and their myocardial
               isoenzymes. JAMA 239:122-124,1978.

            6. Leahey EB, Jr, Reiffel JA, Drusin RE, Heissenbuttel RH, Lovejoy WP, and Bigger JTJr: A
               drug interaction between quinidine and digoxin. JAMA 240;533-534,1978.

            7. Reiffel JA, and Bigger JT,Jr: Pure anterior conduction delay – a varient “fasicular; defect. J
               Electrocardiography 11:315-319, 1978.

            8. Leahey EB, Jr, Reiffel JA, and Bigger JT, Jr: The effects of quinidine on serum digoxin
               concentration in man. Primary Cardiol II:99-101,1979.

            9. Leahey EB, Jr, Reiffel JA, Drusin RE, Heissenbuttel RH, Lovejoy WP, and Bigger JT,Jr:
               Enhanced cardiac effect of digoxin during quinidine treatment. Arch Int Med 139:519-
               521,1979.

            10. Leahey EB, Jr, Reiffel JA, Bigger JTJr, Drusin RE, Heissenbuttel RH, and Lovejoy WP:
                Digoxin-quinidine interaction. A reply. JAMA 241:881-882,1979.

            11. Reiffel JA, Leahey EB,Jr, Drusin RE, Heissenbuttel RH, Lovejoy WP, and Bigger JT, Jr: A
                previously unrecognized drug interaction between quinidine and digoxin. Clin Cardiol

            12. Reiffel JA, Bigger JT, Jr, and Cramer M: Effects of digoxin on sinus nodal function before
                and after vagal blockade in patients with sinus nodal dysfunction. Am J Cardiol
                43:983-989,1979.



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            13. Reiffel JA, McCarthy DM, and Leahey EB, Jr: Does DC cardioversion affect isoenzyme
                recognition of myocardial infarction. Am Heart J 97:810-811,1979*

            14. Leahey EB,Jr., Reiffel JA, Giardina EGV, and Bigger JT,Jr: The effect of quinidine and other
                oral antiarrhythmic drugs on serum digoxin: a prospective study. Ann Int Med 92:606-
                608,1980.

            15. Reiffel JA, Gliklich J, Gang E, Weiss M, Davis J, and Bigger JT,Jr: Human sinus node
                electrograms: A transvenous catheter technique and a comparison of directly measured
                and indirectly estimated sinoatrial conduction time in adults. Circulation 62:1324-
                1334,1980.

            16. Davis JC, Reiffel JA, and Bigger JT,Jr: Sinus node dysfunction due to methyldopa and
                digoxin. JAMA 245:1241-1243,1981.

            17. Leahey EB,Jr, Bigger JT,Jr, Butler VP,Jr, Reiffel JA, O’Connell GC, Scaffidi LE, and
                Rottman JN: Quinidine-digoxin interaction. Time course and pharmacokinetics. Am J
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            18. Reiffel JA, Gang ES, Livelli FD,Jr, and Bigger JT,Jr: Clinical and electrophysiologic
                characteristics of sinoatrial entrance block evaluated by direct sinus node electrography:
                Prevalence, relation to antegrade sinoatrial conduction time and relevance to sinus node
                disease. Am Heart J 102:1011-1014,1981.

            19. Goldberg D, Reiffel JA, Davis JC, Gang ES, Livelli FE, Jr, and Bigger JT,Jr:
                Electrophysiologic effects of procainamide on sinus function in patients with and without
                sinus node dysfunction. Am Heart J 103:75-82,1982.

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                Response to programmed ventricular stimulation: sensitivity, specificity and relation to heart
                disease. Am J Cardiol 50:452-458,1982

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                spontaneous termination of supraventricular tachycardia and following atrial overdrive
                pacing : a comparison. Am Heart J 105:210-215,1983.

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                conduction time by the atrial premature stimulus technique: Patterns of electrography. Am
                Heart J 106:459-463,1983.

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                dose indomethacin. Cardiovascular Reviews and Reports 4:1503-1505,1983. *

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                node echoes and concealed conduction: additional sinus node phenomena confirmed in
                man by direct sinus node electrography. J. Electrocardiology 18:259-266,1985.

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                description of patients in the Cardiac Arrhythmia Pilot Study. Am J Cardiol 61:704-
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                electrocardiographic monitoring for selection of antiarrhythmic therapy of ventricular
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